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11   Receiver for Receivership Entities
12                         UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
14
15
16    SECURITIES AND EXCHANGE                      Case No. 18-4315 DSF (JPRx)
      COMMISSION,
17                                                 SECOND INTERIM FEE
                   Plaintiff,                      APPLICATION OF HOLLAND &
18                                                 KNIGHT LLP, AS COUNSEL TO
             vs.                                   RECEIVER, FOR ALLOWANCE OF
19                                                 COMPENSATION AND
      TITANIUM BLOCKCHAIN                          REIMBURSEMENT OF EXPENSES;
20    INFRASTRUCTURE SERVICES,                     CERTIFICATION OF COUNSEL IN
21    INC.; EHI INTERNETWORK AND                   SUPPORT THEREOF; [PROPOSED]
      SYSTEMS MANAGEMENT, INC.                     ORDER
22    aka EHI-INSM, INC.; and MICHAEL
      ALAN STOLLERY aka MICHAEL                    [FRCP 66; L.R. 66-7]
23    STOLLAIRE,
24                                                 Date:    September 13, 2021
                   Defendants.                     Time:    1:30 p.m.
25                                                 Ctrm:    7D
                                                   Judge:   Hon. Dale S. Fischer
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1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE that on August 16, 2021, at 1:30 p.m., or as soon
3    thereafter as the matter may be heard before the Honorable Dale S. Fischer, in
4    Courtroom 7D of the United States District Court, Central District of California,
5    Western Division, 350 West 1st Street, 6th Floor, Los Angeles, California, 90012,
6    Holland & Knight LLP (“Counsel” or “H&K”), counsel to Josias Dewey, as Court-
7    appointed Receiver (the “Receiver”) for the estates of Defendant Titanium Blockchain
8    Infrastructure Services, Inc. and its subsidiaries and/or affiliates (collectively, the
9    “Receivership Entities”), will and hereby does submit this second interim fee application
10   (the “Application”).
11         This Application is submitted pursuant to paragraphs XI(F) and XVII of this
12   Court’s Order Appointing Permanent Receiver, entered May 30, 2018 (the “Permanent
13   Receivership Order”), Rule 66 of the Federal Rules of Civil Procedure, and Local Rule
14   66-7. This Application is made following the conference of counsel pursuant to Local
15   Rule 7-3 which took place beginning on July 13, 2021.
16         This Application is based upon this Notice of Application and Application, the
17   Arguments and Authorities in Support of Fee Application incorporated therein, the
18   Certification of Counsel, all papers and records on file herein, and such other matters as
19   may be presented to the Court at or before the hearing on this Application.
20
21   Dated: August 2, 2021                    Respectfully submitted,
22                                            HOLLAND & KNIGHT LLP
23
                                              /s/ Kristina S. Azlin
24                                            /s/ Jose A. Casal
                                              Jose A. Casal (pro hac vice)
25                                            Kristina S. Azlin (SBN 235238)
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1        SECOND INTERIM FEE APPLICATION OF HOLLAND & KNIGHT LLP,
2                  AS COUNSEL TO RECEIVER, FOR ALLOWANCE OF
3                COMPENSATION AND REIMBURSEMENT OF EXPENSES
4          Pursuant to paragraphs XI(F) and XVII of this Court’s Order Appointing
5    Permanent Receiver, entered May 30, 2018 (the “Permanent Receivership Order”) (Dkt.
6    48), Rule 66 of the Federal Rules of Civil Procedure, and Local Rule 66-7, Holland &
7    Knight LLP (“Counsel” or “H&K”), counsel to Josias Dewey, as Court-appointed
8    Receiver (the “Receiver”) for the estates of Defendant Titanium Blockchain
9    Infrastructure Services, Inc. (“TBIS”) and its subsidiaries and/or affiliates (collectively,
10   the “Receivership Entities”), hereby submits this second interim fee application (the
11   “Application”).
12         In support of this Application, H&K respectfully states the following:
13        I.       SUMMARY OF FEE REQUEST
14         1.      This interim fee application covers the period from June 23, 2018 through
15   December 31, 2019 (the “Second Application Period”)1 and is submitted in accordance
16   with the Permanent Receivership Order, the Local Rules of this Court, and the Billing
17   Instructions for Receivers in Civil Actions Commenced by the United States Securities
18   and Exchange Commission (the “Billing Instructions”).
19         2.      On April 4, 2019, this Court entered an Amended Order (Dkt. 80) Partially
20   Granting First Interim Fee Application of Holland & Knight LLP, as Counsel to the
21
22   1
       The anticipated Third Application Period will run from January 1, 2020 through
23   approximately the end of the claims administration phase, scheduled to conclude
     around the beginning of Q4 2021. The Receiver has taken substantial steps in
24   furtherance of administrating the Estate during this time, including but not limited to
     establishing a claims administration process among the first of its kind and moving
25   the Court for approval of the same, setting a Claims Bar Date and giving notice to the
     Parties and public of the Claims Bar Date and claims process, publishing (and re-
26   publishing) information about the claims administration process, creating a public-
     facing webpage and portal for potential creditors and victims of the fraud described
27   herein, overseeing professionals engaged in administration and validation of claims,
28   and actually opening the claims period. After the Claims Bar Date, the Receiver will
     move the Court for an Order approving a distribution plan.
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1    Receiver, for Allowance of Compensation and Reimbursement of Expenses (the “First
2    Interim Fee Application”), allowing and approving H&K’s fees and expenses for the
3    period of May 23, 2018 through June 22, 2018 (the “First Application Period”), on an
4    interim basis, in the amounts of $52,828.49 for attorneys’ fees incurred by H&K and
5    $66,451.25 for expenses (which reflected the amount invoiced for forensic services
6    rendered by Kroll Cyber Security), for a total of $119,279.74 (the “First Interim
7    Allowance”).2 H&K received full payment of the First Interim Allowance (the “First
8    Interim Payment”). Since the First Application Period, Counsel has rendered additional
9    services to the Receiver for the benefit of the Receivership Entities, as discussed more
10   fully herein.
11         3.        Through this Application, H&K seeks approval, on an interim basis, of
12   $116,857.12 in fees and $16,734.49 in expenses (inclusive of $10,170.00 for accounting
13   services rendered by Grobstein Teeple LLP and invoiced to H&K) for the Second
14   Application Period, for a total of $133,591.61 (the “Fees”).
15       II.         STANDARDIZED FUND ACCOUNTING REPORT
16         4.        Attached as Exhibit A is the Standardized Fund Accounting Report
17   (SFAR) for the Receivership Entities for the period from January 1, 2019 through June
18   30, 2021 (the “SFAR Reporting Period”).3
19
20
21
22
     2
       Pursuant to paragraph XVII of the Permanent Receivership Order, fees and costs for
23   the Receiver and all others retained to assist him in the administration and liquidation
     of the estate were capped at $125,000 for the initial 30 days of the receivership (the
24   “Fee Cap”). H&K actually incurred $144,369.52 in fees and $72,171.51 in expenses,
25   for a total of $216,541.03, during the First Application Period, but limited that
     application to $125,000 pursuant to the Fee Cap. H&K does not intend to make an
26   application for the remaining $91,541.03 in fees incurred over the Fee Cap during the
     First Application Period.
27   3
       While the Second Application Period runs through December 31, 2019, the SFAR
28   Reporting Period runs through the end of the most recent quarter, providing a more
     accurate and complete picture of the current case status.
                                            2
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1       III.           CASE STATUS
2            5.        Cash On Hand: The amount of cash on hand in the Receiver’s bank account
3    is $21,180.60 as of the end of the SFAR Reporting Period. These funds were received
4    by taking control of TBIS’s bank accounts held at US Bank ($58,583.45) and JPMorgan
5    Chase ($252,208.40).
6            Other Assets: In addition to the cash on hand, the Receiver has also taken
7    possession, or has caused third-party custodians to freeze, the following assets:
8
                                                                                   Unit Value (as    Aggregate Value
                           Units (if     Unit Value (as     Aggregate Value (as    of 06/30/2021,   (as of 06/30/2021,
9          Asset
                          applicable)    of 12/31/2018)       of 12/31/2018)       end of SFAR        end of SFAR
                                                                                       Period)            Period)
10
11    Bitcoin (BTC)            113.471      $3,819.7400             $433,429.72      $34,197.5500       $3,880,430.20

12    Bitcoin SV
                               1.55416           $87.4500               $135.91         $142.4200             $221.34
      (BSV)
13    Ether (ETH)              2151.37       $136.8200              $294,350.44       $2,149.8700       $4,625,165.82
14    Zcash (ZEC)               7.9046           $58.6000               $463.21         $124.3900             $983.25
15    Litecoin (LTC)           4358.11           $81.6100           $355,665.36         $139.2900         $607,041.14

16    Bitcoin Cash
                            0.0004694        $164.8500                    $0.08         $510.0200               $0.24
      (BCH)
17    Electroneum
                                                  $0.0076           $160,332.69           $0.0063         $132,060.96
      (ETN)                  21035514
18
      OMG (OMG)            51.5600014             $1.4316                $73.81           $4.2172             $217.44
19
20
      Computer
21    equipment,
                                                                       $5,000.00                            $2,000.00
      televisions,
22    phones (est)

23
24                                       Total                     $1,249,451.22                        $9,248,120.39

25
26           6.        The Receiver has established multiple cryptocurrency wallets to hold the

27   cryptocurrencies listed above and is either (i) in possession of the private keys associated

28   with these wallets, or (ii) has caused a third party custodian to freeze such assets. As of

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1    the end of the SFAR Reporting Period, and based on values taken from a market
2    aggregator, the value of the cryptocurrency assets held by or for the benefit of the
3    Receivership Estate is approximately $9,115,841.76. This figure should be taken with
4    caution because the value of cryptocurrency assets fluctuates rapidly, and the markets for
5    some cryptocurrencies can be opaque and illiquid, and subject to market manipulation.
6    Furthermore, some assets, like Electroneum (ETN), may constitute unregistered
7    securities, making it difficult, or impossible, for the Receiver to liquidate to fiat
8    currency.
9          7.      Pursuant to the Receiver’s November 1, 2019 Motion for Leave to Partially
10   Liquidate Assets (Dkt. 91) (the “Partial Liquidation Motion”), and the Court’s
11   November 22, 2019 Order granting the Partial Liquidation Motion (Dkt. 93), the
12   Receiver obtained authorization from the Court to partially liquidate the cryptocurrency
13   assets listed above in order to pay current and future expenses for which the Receiver
14   had insufficient cash on hand.
15         8.      Expenses: The Receiver has incurred administrative expenses as a result of
16   his efforts to marshal and preserve the assets of the Receivership. Expenses for the
17   Second Application Period were advanced by H&K and by Grobstein Teeple LLP, as set
18   forth in attached Exhibit E. Lastly, the Receivership has advanced (i) approximately
19   $90,427.62 in payroll taxes owed to the IRS for both pre- and post-receivership wages,
20   and (ii) certain ordinary course expenses, such as costs incurred in connection with
21   server hosting fees, incurred by the Receiver in the aggregate amount of $5,000.00 in
22   administering the Receivership Entities.
23         9.      Creditor Claims: As set forth in the Receiver’s Notice to Court Regarding
24   Status of Claims Process and Claims Bar Date, filed on March 22, 2021 (the “Claims
25   Process Status Notice”) (Dkt. 102), the creditor claims process is underway pursuant to
26   the procedures developed by the Receiver and approved by this Court’s August 21, 2020
27   Order Approving Claims Process and Bar Date (Dkt. 96) for overseeing the
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1    administration of claims of creditors, investors who acquired unregistered securities
2    from TBIS and certain investors otherwise harmed by TBIS’s fraud.
3          10.       As detailed in the Claims Process Status Notice, the Receiver, claims
4    administrator RCB Fund Services LLC (“RFS”), and Counsel have worked diligently to
5    test, validate, and ultimately deploy a first-of-its-kind automated validation-based claims
6    process system (the “Claims Portal”). The Claims Portal involves using the record of the
7    fraudulent transaction – the sale of unregistered securities represented by virtual ERC-20
8    cryptocurrency tokens which exist on the public Ethereum blockchain network
9    (“Ethereum Network”) – to validate the legitimacy of claims and prevent fraudulent or
10   duplicative claims. The Ethereum Network is the decentralized transaction ledger on
11   which Ether, one of the world’s most popular cryptocurrencies, exists. The Ethereum
12   Network reflects the transactions occurring insofar as it is, in and of itself, a ledger of
13   transactions.
14         11.       Pursuant to the Court’s December 8, 2020 Order Appointing a Claims
15   Administrator (Dkt. 100), the Receiver engaged RFS as claims administrator for
16   purposes of effectuating the Court’s August 21, 2020 Order approving the claims
17   process. On December 15, 2020, the Court granted TBIS’s and the Securities and
18   Exchange Commission’s (“SEC”) Joint Stipulation to Extend Claims Bar Date (Dkt.
19   101). Pursuant to that Order, the Court established that the claims period for potential
20   claimants of the Receivership Entities would run for 180 calendar days following
21   publication of the Claims Process Notice (the “Notice”). Any claims submitted after
22   11:59 p.m. Pacific Time on the date 180 calendar days following initial publication of
23   the Notice would be barred (the “Bar Date”).
24         12.       On February 12, 2021, the Receiver published the initial Notice of the
25   Claims Process and Bar Date on PR Newswire and Twitter, thus establishing the Claims
26   Bar Date as August 11, 2021. In addition to the initial Notice, the Receiver has provided
27   direct email notices to potential claimants whose email addresses are known and has re-
28   published the Notice on additional occasions, through multiple channels. The initial
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1    round of publication and direct emails reached a wide audience and resulted in a number
2    of claims being filed, as evidenced by both the number of claims authenticated and
3    submitted to date and the geographic diversity of the claimants. The Receiver intends to
4    continue making subsequent publications of the Notice throughout the claims period,
5    including on PR Newswire, Coin Telegraph, and Twitter.
6          13.    The Claims Portal went live on February 27, 2021 and has been receiving
7    claims since that date, and it will remain open until 11:59 p.m. Pacific Time on the Bar
8    Date. The Receiver has been reviewing and validating submitted claims and responding
9    to inquiries from claimants and potential claimants.
10         14.    As of June 30, 2021, 410 claims submitted through the Claims Portal
11   cleared validation, meaning that the claims process deemed them to be legitimate claims
12   arising from purchase or acquisition of unregistered TBIS securities. An additional 367
13   claims had been created, but not yet finalized, meaning that claimants still had to take
14   additional steps to finish the claims submission (e.g., upload documentation). 58 claims
15   were deemed to be duplicates.4
16         15.    After the Bar Date has passed and the Receiver has reviewed and validated
17   submitted claims, he will submit a separate motion seeking approval for the distribution
18   of assets to claimants in amounts to be determined at a later date.
19         16.    The Receiver has negotiated with additional third parties, as well as the
20   Defendant, with respect to certain cryptocurrency assets that were transferred from a
21   wallet owned by TBIS to a wallet owned by a third-party and hosted by Coinbase. This
22   cryptocurrency is the property of TBIS and therefore should be transferred to the
23   Receivership. The Receiver successfully negotiated with all third-parties involved,
24   including Defendant, to enter into a stipulation releasing the cryptocurrency to the
25   Receivership, which was approved pursuant to the Court’s April 10, 2019 Order
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     4
28     The Receiver can provide updated information if needed at the time of hearing or
     reply.
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1    Granting Stipulation and Request for Modification of Asset Freeze To Allow Release of
2    Frozen Assets (Dkt. 82).
3             17.   The Receiver has, and continues to, pursue the recovery of certain
4    cryptocurrency assets (approximately 477.647 Ethereum and 38.75387 Bitcoin, valued at
5    approximately $2,352,166.36 as of the end of the SFAR Reporting Period) that were
6    stolen from a wallet owned by TBIS and transferred to a wallet owned by a third-party
7    and hosted by HitBTC (an offshore cryptocurrency exchange which, according to its
8    website, was headquartered in Hong Kong but is now operating out of Chile and the
9    Seychelles) (the “HitBTC Crypto”). The Receiver, using certain forensic cryptocurrency
10   software tools, was able to trace the HitBTC Crypto through a series of complex
11   transfers and, ultimately, was able to identify the individual owner of the wallet. The
12   Receiver successfully negotiated with HitBTC to freeze the HitBTC Crypto (which, as
13   of the date hereof, appears to remain frozen on the exchange), but despite repeated
14   attempts to secure the transfer of the HitBTC Crypto to the Receivership (including
15   filing suit through local counsel in Hong Kong to order HitBTC to transfer the HitBTC
16   Crypto to the Receivership) HitBTC ceased communications with the Receiver (and its
17   various counsel). The Receivership continues to pursue recovery of the HitBTC Crypto
18   and has established communications with counsel in the Seychelles to explore remedies
19   it may seek in that jurisdiction.
20      IV.         BACKGROUND
21            18.   On May 22, 2018, the Securities and Exchange Commission filed a
22   complaint against Defendants Titanium, EHI Internetwork and Systems Management,
23   Inc., also known as EHI-INSM, Inc.(“EHI”), and Michael Alan Stollery, also known as
24   Michael Stollaire (collectively “Defendants”), along with an application for the
25   appointment of a receiver for the Receivership Entities.
26            19.   The Court concluded that the appointment of a receiver in this action was
27   necessary and appropriate for the purposes of marshaling and preserving all assets,
28   tangible and intangible, that are owned, controlled or possessed by the Receivership
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1    Entities, and accordingly, on May 23, 2018, the Court entered a Temporary Restraining
2    Order (the “TRO”) and Orders (1) Freezing Assets; (2) Prohibiting the Destruction or
3    Alteration of Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings;
4    and (5) Appointing a Temporary Receiver (the “Temporary Receivership Order”) (Dkt.
5    2), appointing Josias N. Dewey as temporary receiver for the Receivership Entities. On
6    May 24, 2018, all Defendants were served with the summons, complaint, TRO, and
7    Temporary Receivership Order. (Dkt. 49, 50, 51.)
8          20.    On May 30, 2018, the Court entered the Permanent Receivership Order
9    (together with the Temporary Receivership Order, collectively, the “Receivership
10   Order”) (Dkt. 48). The Defendants consented to the entry of the Permanent
11   Receivership Order (Dkt. 47.)
12         21.    On June 6, 2018, the Court entered orders approving the Receiver’s
13   decision to employ H&K as legal counsel and Kroll Cyber Security, LLC (“Kroll”) as a
14   forensic and investigative consultant, to assist him in carrying out his duties as the
15   Receiver. H&K and Kroll began performing services for the Receiver on or about May
16   23, 2018.
17         22.    As set forth in more detail in the Receiver’s Initial Status Report for
18   Receivership Estate of Titanium Blockchain Infrastructure Services, Inc., filed on June
19   25, 2018 (the “Initial Status Report”), the Receiver and his advisors focused most of
20   their initial efforts on investigating, identifying, collecting, and preparing an inventory of
21   assets of the Receivership Entities. (Dkt. 57.) The principal assets recovered include
22   cryptocurrency, U.S. currency, electronic data, and physical assets such as computer
23   equipment.
24         23.    On May 24, 2018, the Receiver and his legal counsel, together with the
25   assistance of Kroll, were able to seize and search computer equipment, mobile phones
26   and other electronic devices belonging to the Receivership Entities and interview Mr.
27   Stollery and certain of his associates at their offices in Sherman Oaks, California and
28   Springfield, Oregon. (Dkt. 57.)
                                          8
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1          24.    Based on information gained through the search and interviews, the
2    Receiver identified and took control of certain cryptocurrency assets. In addition, the
3    Receiver collected other assets at the Sherman Oaks site and from an office site in
4    Springfield, Oregon that had been leased on behalf of Titanium. (Dkt. 57.)
5          25.    The Initial Status Report and the First Interim Fee Application provide
6    additional detail on the Receiver’s initial efforts and actions taken in order to identify
7    and secure assets of the Receivership and to work on identifying additional assets for
8    recovery. (Dkt. 57, 76.)
9          26.    On May 10, 2019, the SEC reached bifurcated settlements with EHI and
10   Stollaire, which were signed and filed with the Court (Dkt. 83 and 84 respectively),
11   whereby EHI and Stollaire consented, without admitting or denying the allegations of
12   the complaint, to the entry of judgments on all claims against them and to the issuance of
13   permanent injunctions against them on those claims, as well as to the issuance of a
14   permanent injunction enjoining Stollaire from directly or indirectly, participating in the
15   offering of digital or other securities. Pursuant to the terms of the bifurcated settlements,
16   EHI and Stollaire agreed that the amounts of disgorgement and civil penalty they must
17   pay shall be determined by the Court upon motion of the SEC, assuming no further
18   settlement can be reached with the SEC as to those amounts.
19         27.    On May 14, 2019, the Court entered its Judgment as to Defendant EHI,
20   which, among other things, (i) permanently restrains and enjoins EHI from violations of
21   Section 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §§ 78j(b) and
22   78o(a)] and Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15
23   U.S.C. §§ 78j(b) and 78o(a)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5]; and
24   (ii) orders EHI to pay disgorgement, prejudgment interest thereon, and a penalty in
25   amounts to be determined by the Court upon motion of the SEC (Dkt. 86). EHI
26   consented to such Judgment. (Dkt. 84.)
27         28.    On May 14, 2019, the Court entered its Judgment as to Defendant Stollaire,
28   which, among other things, (i) permanently restrains and enjoins Stollaire from
                                          9
              SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
     Case 2:18-cv-04315-DSF-JPR Document 103 Filed 08/02/21 Page 15 of 92 Page ID
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1    violations of Sections 5(a), 5(c), and 17(a) of the Securities Act and Section 10(b) of the
2    Exchange Act and Rule 10b-5 thereunder; (ii) permanently restrains and enjoins Stollaire
3    from directly or indirectly, including, but not limited to, through any entity owned or
4    controlled by Stollaire, participating in the offering of digital or other securities,
5    provided, however, that such injunction shall not prevent Stollaire from purchasing or
6    selling digital or other securities for himself or his own personal account; and (iii) orders
7    Stollaire to pay disgorgement, prejudgment interest thereon, and a penalty in amounts to
8    be determined by the Court upon motion of the SEC (Dkt. No. 87). Stollaire consented
9    to such Judgment. (Dkt. 83.)
10            29.   On May 22, 2019, the Receiver executed a Consent of Defendant Titanium
11   Blockchain Infrastructure Services, Inc. (Dkt. 89), consenting to the entry of a Judgment
12   against TBIS that permanently restrains and enjoins TBIS from violations of Sections
13   5(a), 5(c), and 17(a) of the Securities Act and Section 10(b) of Exchange Act and Rule
14   10b-5 thereunder; (b) orders TBIS to pay disgorgement, prejudgment interest thereon,
15   and a penalty in amounts to be determined by the Court upon motion of the SEC. The
16   Court entered its Judgment as to Defendant TBIS on May 23, 2019 (Dkt. 90).
17            30.   Pursuant to the Receiver’s November 1, 2019 Partial Liquidation Motion
18   (Dkt. 91), and the Court’s November 22, 2019 Order granting the Partial Liquidation
19   Motion (Dkt. 93), the Receiver obtained authorization from the Court to partially
20   liquidate the cryptocurrency assets listed in Section III above in order to pay current and
21   future expenses for which the Receiver had insufficient cash on hand.
22       V.         SUMMARY OF SERVICES PROVIDED
23            31.   H&K has continued to assist the Receiver with all aspects of his duties in
24   this case during the Second Application Period, including continued work on
25   investigating, identifying, collecting, and preparing an inventory of assets of the
26   Receivership Entities including cryptocurrency, U.S. currency, electronic data, and
27   physical assets such as computer equipment, negotiations with third parties to stipulate
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1    to the recovery of additional cryptocurrency assets, and initial work on developing
2    claims administration and distribution procedures.
3          32.    Additional actions in which H&K has assisted the Receiver include, but are
4    not limited to, the following:
5                 a.     Establishing a Receivership website (http://tbis.io) and an email
6                 address (TBIS@hklaw.com) so that TBIS’s investors and other creditors
7                 can receive information pertaining to the Receivership;
8                 b.     Identifying cryptocurrency wallets and/or accounts controlled by the
9                 Defendants containing various cryptocurrencies (bitcoin, Bitcoin Cash,
10                Ether, Litecoin, Dash, Electroneum, ZCash, BAR and TBAR), and either
11                transferring such cryptocurrency to wallets controlled by the Receiver or
12                causing third party custodial agents to freeze such accounts;
13                c.     Taking control of TBIS’s U.S. Bank account and having the entire
14                account balance transferred to an account established by the Receiver;
15                d.     Taking control of Titanium’s JPMorgan Chase Bank account and
16                requesting that the entire account balance be transferred to an account
17                established by the Receiver;
18                e.     Securing access to Mr. Stollery’s safe deposit box and the retrieval
19                of relevant information and assets from same;
20                f.     Reviewing TBIS’s provisional patent application and GitLab
21                account, and conducting telephone interviews with TBIS’s chief
22                technology officer, to evaluate the current value of intellectual property
23                and TBIS as a going concern;
24                g.     Engaging Kroll to inventory and image computers and phones
25                collected from TBIS’s offices in Sherman Oaks, California, and
26                Springfield, Oregon;
27
28
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1                h.    Interviewing TBIS’s chief operating officer regarding business
2                operations and matters pertaining to theft of virtual currencies from the
3                Defendant TBIS;
4                i.    Obtaining information from special agents with the United States
5                Secret Service and Federal Bureau of Investigations regarding the theft of
6                virtual currencies from the Defendant TBIS;
7                j.    Securing personal property owned or leased by TBIS at both of its
8                offices;
9                k.    Changing the locks at both commercial offices of Defendant TBIS;
10               l.    Negotiating with commercial landlords to secure the termination of
11               TBIS’s leases;
12               m.    Serving written notices on cryptocurrency exchanges and other third
13               parties to locate additional assets, including certain overseas exchanges;
14               n.    Analyzing payroll and employment matters, including status of
15               employment tax payments;
16               o.    Terminating the employment of employees of Defendant TBIS;
17               p.    Communicating with hundreds of prospective claimants about their
18               potential claims and answering their questions;
19               q.    Establishing a first-of-its-kind claims process that involves an semi-
20               automated method of validating certain claims by utilizing publicly
21               available information on the Ethereum blockchain;
22               r.    Seeking, engaging and directing local counsel in Hong Kong and the
23               Seychelles to pursue the recovery of the HitBTC Crypto;
24               s.    Engaging the services of, and work closely with, RFS to assist the
25               Receiver, and its counsel, in the claims, validation and distribution process,
26               including the development of a unique electronic claims portal, allowing
27               the Receiver to reduce the time necessary to review and process a claim (as
28               well as solving certain unique challenges in confirming claims pertaining
                                        12
             SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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1                      to transactions that took place on a pseudo-anonymous basis on a
2                      blockchain); and
3                      t.     Analyzing and troubleshooting hundreds of claim applications and
4                      questions submitted through the claim application portal.
5                33.   Each of these tasks was reasonably necessary to identify and secure assets
6    of the Receivership, to work on identifying additional assets for recovery, and to begin
7    work on developing the procedures for overseeing the administration and payment of
8    claims of creditors, investors who acquired unregistered securities from TBIS and
9    certain investors otherwise harmed by TBIS’s fraud.
10         VI.         FEE APPLICATION
11               34.   During the Second Application Period, H&K professionals provided
12   services to the Receiver for the benefit of the Receivership Entities with a value of at
13   least $116,857.12 and incurred reimbursable expenses in the amount of $16,734.49,5 for
14   a total of $133,591.61 in fees and expenses. Through this Application, H&K requests
15   entry of an Order approving the Fees on an interim basis.
16               35.   This Application is the second Interim Fee application that H&K has
17   submitted in this matter. Below is a summary of prior fees and expenses requested,
18   allowed, and paid to H&K to date:
19                                          Requested                   Allowed                      Paid
          Application;       Period
20                                        Fees       Expenses       Fees       Expenses       Fees       Expenses
           Date Filed       Covered
21
          First Interim;    5/23/2018
22                                      $52,828.49
            3/1/2019            –           6        $72,171.51   $52,828.49   $66,451.25   $52,828.49   $66,451.25
         (Docket No. 76)    6/22/2018
23
24
     5
25     These expenses include $10,170 for accounting services rendered by Grobstein
     Teeple LLP and invoiced to H&K.
26   6
       H&K actually incurred $144,369.52 in fees and $72,171.51 in expenses, for a total
     of $216,541.03, during the First Application Period, but limited that application to
27   $125,000 pursuant to the Fee Cap. H&K does not intend to make an application for
28   the remaining $91,541.03 in fees incurred over the Fee Cap during the First
     Application Period.
                                              13
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1                                    Requested                   Allowed                     Paid
        TOTALS:
2
                                 $52,828.49   $72,171.51   $52,828.49   $66,451.25   $52,828.49   $66,451.25
3
4
5          36.    No balance remains outstanding from the prior fee period.

6          37.    Through this Application, H&K further requests entry of an Order

7    authorizing the Receiver to make payment to H&K in the amount of $133,591.61.

8          38.    The names, hours worked, hourly billing rates, and total fees of all H&K

9    professionals who have billed time to this matter, excluding the Receiver, are listed in

10   the attached Exhibit B. Standard H&K hourly billing rates have been discounted by

11   10%. Travel time has been billed at 50% of H&K’s standard hourly billing rates in

12   accordance with the Billing Instructions, and those reduced rates have been further

13   discounted by 10%. H&K’s actual fees for the Second Application Period have been

14   reduced by at least $13,715.38 pursuant to this discount.

15         39.    In further accordance with the Billing Instructions, H&K professionals have

16   separately categorized their services by task. The attached Exhibit C summarizes the

17   respective number of hours incurred relative to each task category during the Second

18   Application Period.

19         40.    The services rendered by H&K are itemized fully in the contemporaneously

20   maintained electronic time records attached hereto as Exhibit D.

21         41.    An itemization of reasonable and reimbursable expenses incurred by H&K

22   at the levels set forth in accordance with the Billing Instructions, including a copy of the

23   Grobstein Teeple LLP invoice included among those expenses, is attached hereto as

24   Exhibit E. Further details on the services provided by Grobstein Teeple LLP are

25   outlined in Exhibit E-1.

26    VII. POINTS AND AUTHORITIES IN SUPPORT OF FEE APPLICATION

27         42.    The district court’s “power to supervise an equity receivership and to

28   determine the appropriate action to be taken in the administration of the receivership is

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              SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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1    extremely broad.” SEC v. Hardy, 803 F.2d 1034, 1037 (9th Cir. 1986). That broad
2    authority “arises out of the fact that most receiverships involve multiple parties and
3    complex transactions.” Id.7 This “extremely broad” discretion “includes awards of
4    receivership fees, including attorneys’ fees.” SEC v. Wang, 2015 WL 12656904, at *3
5    (C.D. Cal., Feb. 17, 2015, No. CV 13-7553 JAK (SS)), citing In re San Vincente
6    Medical Partners Ltd., 962 F.2d 1402, 1409 (9th Cir. 1992) (“The award of receivership
7    fees in an SEC action is analogous to the award of receivership fees in bankruptcy
8    proceedings, and we review the district court’s award for an abuse of discretion.”).
9          43.    Decisions regarding the timing and amount of an award of fees and costs
10   are committed to the sound discretion of the Court. See Drilling & Exploration Corp. v.
11   Webster, 69 F.2d 416, 418 (9th Cir. 1934) (“The court appointing the receiver has full
12   power to fix the compensation of such receiver and the compensation of the receiver’s
13   attorney or attorneys.”); Quilling v. Trade Partners, Inc., 572 F.3d 293, 301 (6th Cir.
14   2009) (“[T]he district court has wide discretion in distributing receivership assets.”);
15   SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992) (rev’d in part on other grounds, 998
16   F.2d 922 (11th Cir. 1993)); SEC v. Wang, 2015 WL 12656904, at *1; SEC v. Small
17   Business Capital Corp., 2014 WL 3920320, at *2 (N.D. Cal. Aug. 7, 2014).
18         44.    An award of interim fees may be appropriate where, like here, a receiver or
19   the professionals employed by the receiver “regularly devote[] a portion of his time,
20   either daily or weekly, to the administration of the estate[.]” In Re McGann Mfg. Co.,
21   188 F.2d 110, 112 (3d Cir. 1951) (interim fees to bankruptcy trustee or his counsel); see
22   also SEC v. Small Bus. Cap. Corp., No. 5:12-CV-03237 EJD, 2014 WL 1901257, at *1
23   (N.D. Cal. May 9, 2014) (granting interim fee application to receiver and receiver’s
24   counsel).
25
26
27   7
      See also Id. at 1037 (Recognizing that “case law involving district court
28   administration of an equity receivership (once the receivership is underway) is
     sparse…”).
                                         15
              SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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1          45.    In allowing fees, a court should consider “the time, labor and skill required,
2    but not necessarily that actually expended, in the proper performance of the duties
3    imposed by the court upon the receiver[], the fair value of such time, labor and skill
4    measured by conservative business standards, the degree of activity, integrity and
5    dispatch with which the work is conducted and the result obtained.” United States v.
6    Code Prods. Corp., 362 F.2d 669, 673 (3d Cir. 1966) (internal quotation marks omitted).
7    Moreover, an “award of interim fees is appropriate ‘where both the magnitude and the
8    protracted nature of a case impose economic hardships on professionals rendering
9    services to the estate.’” SEC v. Small Bus. Cap. Corp., 2014 WL 1901257, at *2
10   (quoting In re Alpha Telcom, Inc., No. 01–CV–1283–PA, 2006 WL 3085616, at *3
11   (D.Or. Oct. 27, 2006)).
12         46.    In practical terms, when awarding interim fees, receiver and professional
13   compensation turns upon the result of an equitable, multi-factor balancing test involving
14   the “economy of administration, the burden that the estate may be able to bear, the
15   amount of time required, although not necessarily expended, and the overall value of the
16   services to the estate.” Id. (quoting In re Imperial 400 Nat’l, Inc., 432 F.2d 232, 237 (3d
17   Cir. 1970)). Regardless of how this balancing test is formulated, no single factor is
18   determinative and “a reasonable fee is based [upon] all circumstances surrounding the
19   receivership.” SEC v. W.L. Moody & Co., Bankers (Unincorporated), 374 F.Supp. 465,
20   480 (S.D. Tex. 1974). Generally, the starting point is to multiply the number of hours
21   expended by an hourly rate. Southwestern Media, Inc. v. Rau, 708 F.2d 419, 427 (9th
22   Cir. 1983) (bankruptcy case). The hourly rate is based on the rate the professional would
23   charge for comparable service in other matters. Id.
24         47.    “As a general rule, the expenses and fees of a receivership are a charge
25   upon the property administered.” Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994)
26   (citing Atl. Trust Co. v. Chapman, 208 U.S. 360 (1908)); see also SEC v. Nationwide
27   Automated Sys. Inc., CV 14-07249 SJO (FFMx), 2018 WL 11295810 (C.D. Cal. April
28   26, 2018) (quoting Gaskill and granting thirteenth interim fee applications of receiver
                                         16
              SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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1    and counsel). These expenses include the fees and expenses of the Receiver’s
2    professionals, including H&K.
3          48.     In support of the application, H&K submits the above-referenced Exhibits
4    A-E for the Court’s review, along with the Certification of Jose A. Casal addressing the
5    reasonableness of the rates charged and hours billed by professionals at H&K.
6          49.     H&K has charged fees that are 10% less than the standard billing rates for
7    the professionals working on this matter, and those fees are at or below customary fees
8    charged by like professionals in their respective markets. H&K has billed all
9    reimbursable expenses at their actual costs with no mark-up added, and they are not
10   seeking overhead charges.
11         50.     Further, pursuant to the Fee Cap, H&K’s actual fees for the First
12   Application Period were previously reduced by $91,541.03—which was an additional
13   63% discount for the services rendered during that prior application period.
14         51.     As set forth above and in the Claims Process Status Notice, among other
15   filings, H&K has assisted the Receiver in performing various tasks that have added value
16   to the Receivership Entities. Each task was staffed and performed as efficiently as
17   possible. The fees and expenses sought in this Application are reasonable and were
18   necessary for the proper administration of the Receiver’s duties.
19
20    VIII.        CONCLUSION
21         H&K therefore respectfully requests that this Court enter an Order:
22         1.      Allowing, on an interim basis, fees in the amount of $116,857.12 and
23   reimbursement of expenses in the amount of $16,734.49, for total compensation of
24   $133,591.61;
25         2.      Authorizing and directing the Receiver to make payment to H&K in the
26   amount of $133,591.61; and
27
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1          3.      Directing such other and further relief as the Court deems appropriate.
2
3    Dated: August 2, 2021                  Respectfully submitted,
4                                           HOLLAND & KNIGHT LLP
5
                                            /s/ Kristina S. Azlin
6                                           Jose A. Casal (pro hac vice)
                                            Kristina S. Azlin (SBN 235238)
7                                           Samuel J. Stone (SBN 317013)
8                                           Attorneys for Josias Dewey, Court-appointed
                                            Receiver for Receivership Entities
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                SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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10   Attorneys for Josias Dewey, Court-appointed
11   Receiver for Receivership Entities

12                         UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
14
15
       SECURITIES AND EXCHANGE                     Case No. 18-4315 DSF (JPRx)
16     COMMISSION,
17                                                 CERTIFICATION OF COUNSEL IN
                   Plaintiff,                      SUPPORT OF SECOND INTERIM
18                                                 FEE APPLICATION OF HOLLAND
             vs.                                   & KNIGHT LLP, AS COUNSEL TO
19                                                 RECEIVER, FOR ALLOWANCE OF
       TITANIUM BLOCKCHAIN                         COMPENSATION AND
20     INFRASTRUCTURE SERVICES,                    REIMBURSEMENT OF EXPENSES
21     INC.; EHI INTERNETWORK AND
       SYSTEMS MANAGEMENT, INC.
22     aka EHI-INSM, INC.; and MICHAEL
       ALAN STOLLERY aka MICHAEL
23     STOLLAIRE,
24                 Defendants.
25
26   ///
27   ///
28   ///
                                        19
             SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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1     CERTIFICATION IN SUPPORT OF SECOND INTERIM FEE APPLICATION
2           OF HOLLAND & KNIGHT LLP, AS COUNSEL TO RECEIVER, FOR
3    ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
4            I, Jose A. Casal, counsel to the Receiver in the above-captioned matter and in
5    connection with the Second Interim Fee Application of Holland & Knight LLP therein,
6    do hereby certify as follows:
7            1.      I have reviewed the Second Interim Fee Application of Holland & Knight
8    LLP, including all Exhibits thereto (the “Application”);
9           2.       To the best of my knowledge, information and belief formed after
10   reasonable inquiry, the Application and all fees and expenses in it are true and accurate
11   and comply with the SEC Billing Instructions;
12          3.       All fees contained in the Application are reasonable, necessary and
13   commensurate with the skill and experience required for the activity performed;
14          4.       The amount for which reimbursement is sought in the Application does not
15   include the amortization of the cost of any investment, equipment, or capital outlay; and
16          5.       The requests for reimbursement of services that were justifiably purchased
17   or contracted for from third parties (such as copying, imaging, bulk mail, messenger
18   service, overnight courier, computerized research, or title and lien searches) include only
19   the amount billed to Holland & Knight LLP by the third-party vendor and paid by
20   Holland & Knight LLP to such vendor.
21   Dated: August 2, 2021
22                                            /s/ Jose A. Casal
23                                            Jose A. Casal (pro hac vice)
                                              Kristina S. Azlin (SBN 235238)
24                                            Holland & Knight LLP
                                              Counsel for Josias N. Dewey, Court-appointed
25                                            permanent receiver for Defendant Titanium
                                              Blockchain Infrastructure Services, Inc.
26
                                              Attorneys for Josias Dewey, Court-appointed
27                                            Receiver for Receivership Entities
28   #79603632_v12

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                  SECOND INTERIM FEE APPLICATION OF COUNSEL FOR RECEIVER
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                                                                                                       EXHIBIT A
                                                                                         STANDARDIZED FUND ACCOUNTING REPORT

                                                                            Receivership in SEC v. Titanium Blockchain Infrastructure Services, Inc., et al.
                                                                                             Civil Court Docket No. 18‐4315 DSF (JPRx)

                                                                                           Reporting Period ‐ 01/01/2019 to 06/30/2021


Fund Accounting:
                                                                                                                 Reporting Period                   Subtotal Prior Periods           Grand Total
Line 1       Beginning Balance (as of 12/31/2018)                                                                           $115,566.70
             Increases in Fund Balance:
Line 2       Business Income                                                                                                        $0.00                                    $0.00                       $0.00
Line 3       Cash and Securities                                                                                                    $0.00                                    $0.00                       $0.00
Line 4       Interest/Dividends Income                                                                                              $0.00                                    $0.00                       $0.00
Line 5       Business Asset Liquidation                                                                                        $45,190.13                                    $0.00                  $45,190.13
Line 6       Personal Asset Liquidation                                                                                             $0.00                                    $0.00                       $0.00
Line 7       Third‐Party Litigation Income                                                                                          $0.00                                    $0.00                       $0.00
Line 8        Miscellaneous ‐ Other                                                                                                 $0.00                                    $0.00                       $0.00
  Line 8a     Total Funds Available (Lines 1‐8)                                                                               $160,756.83                                    $0.00                 $160,756.83
             Decreases in Fund Balance:
Line 9        Disbursements to Investors                                                                                            $0.00                                $0.00                           $0.00
Line 10       Disbursements for Receivership Operations                                                                             $0.00                                $0.00                           $0.00
  Line 10a   Disbursements to Receiver or Other Professionals                                                                  $119,279.74                                $0.00                    $119,279.74
  Line 10b   Business Asset Expenses                                                                                            $20,296.49                          $195,225.13                    $215,521.62
  Line 10c   Personal Asset Expenses                                                                                                 $0.00                                $0.00                          $0.00
  Line 10d   Investment Expenses                                                                                                     $0.00                                $0.00                          $0.00
  Line 10e   Third‐Party Litigation Expenses
             1. Attorneys Fees                                                                                                       $0.00                                $0.00                         $0.00
             2. Litigation Expenses                                                                                                  $0.00                                $0.00                         $0.00
             Total Third‐Party Litigation Expenses                                                                                   $0.00                                $0.00                         $0.00
 Line 10f     Tax Administrator Fees and Bonds                                                                                       $0.00                                $0.00                          $0.00
 Line 10g    Federal and State Tax Payments                                                                                          $0.00                                $0.00                          $0.00
             Total Disbursements for Receivership Operations                                                                   $139,576.23                          $195,225.13                    $334,801.36

Line 11      Disbursements for Distribution Expenses Paid by the Fund:
  Line 11a   Distribution Plan Development Expenses:
             1. Fees                                                                                                                  $0.00                                  $0.00                       $0.00
                    Fund Administration                                                                                               $0.00                                  $0.00                       $0.00
                    Independent Distribution Consultant (IDC)                                                                         $0.00                                  $0.00                       $0.00
                    Distribution Agent                                                                                                $0.00                                  $0.00                       $0.00
                    Consultants                                                                                                       $0.00                                  $0.00                       $0.00
                    Legal Advisers                                                                                                    $0.00                                  $0.00                       $0.00
                    Tax Advisers                                                                                                      $0.00                                  $0.00                       $0.00
             2. Administrative Expenses                                                                                               $0.00                                  $0.00                       $0.00
             3. Miscellaneous                                                                                                         $0.00                                  $0.00                       $0.00
             Total Plan Development Expenses                                                                                          $0.00                                  $0.00                       $0.00
 Line 11b    Distribution Plan Implementation Expenses
             1. Fees                                                                                                                  $0.00                                  $0.00                       $0.00
                   Fund Administration                                                                                                $0.00                                  $0.00                       $0.00
                   Independent Distribution Consultant (IDC)                                                                          $0.00                                  $0.00                       $0.00
                   Distribution Agent                                                                                                 $0.00                                  $0.00                       $0.00
                    Consultants                                                                                                       $0.00                                  $0.00                       $0.00
                    Legal Advisers                                                                                                    $0.00                                  $0.00                       $0.00
                    Tax Advisers                                                                                                      $0.00                                  $0.00                       $0.00
             2. Administrative Expenses                                                                                               $0.00                                  $0.00                       $0.00
             3. Investor Identification                                                                                               $0.00                                  $0.00                       $0.00
                    Notice/Publishing Approved Plan                                                                                   $0.00                                  $0.00                       $0.00
                    Claimant Identification                                                                                           $0.00                                  $0.00                       $0.00
                    Claims Processing                                                                                                 $0.00                                  $0.00                       $0.00
             4. Fund Administrator Bond                                                                                               $0.00                                  $0.00                       $0.00
             5. Miscellaneous                                                                                                         $0.00                                  $0.00                       $0.00
             6. Federal Account for Investor Restitution                                                                              $0.00                                  $0.00                       $0.00
             (FAIR) Reporting Expenses                                                                                                $0.00                                  $0.00                       $0.00
             Total Plan Implementation Expenses                                                                                       $0.00                                  $0.00                       $0.00
             Total Disbursements for Distribution Expenses Paid by the Fund                                                           $0.00                                  $0.00                       $0.00
Line 12       Disbursements to Court/Other
  Line 12a      Investment Expenses/Court Registry Investment System (CRIS) Fees                                                     $0.00                                $0.00                          $0.00
  Line 12b      Federal Tax Payments                                                                                                 $0.00                                $0.00                          $0.00
             Total Disbursements to Court/Other:                                                                                     $0.00                                $0.00                          $0.00
             Total Funds Disbursed (Line 9‐11):                                                                                $139,576.23                          $195,225.13                    $334,801.36
Line 13       Ending Balance (As of 06/30/2021):                                                                                $21,180.60
         Case 2:18-cv-04315-DSF-JPR Document 103 Filed 08/02/21 Page 27 of 92 Page ID
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Line 14      Ending Balance of Fund ‐ Net Assets:
  Line 14a    Cash & Cash Equivalents                                                                                               $0.00                                 $0.00                                    $0.00
  Line 14b    Investments                                                                                                           $0.00                                 $0.00                                    $0.00
  Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)                                                                See Note 1                            See Note 1                               See Note 1
             Total Ending Balance of Fund ‐ Net Assets                                                                              $0.00                                 $0.00                                    $0.00


Other Supplemental Information:                                                                                          Reporting Period         Subtotal Prior Periods                       Grand Total
             Report of Items NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
   Line 15a Plan Development Expenses Not Paid by the Fund:
            1. Fees                                                                                                                 $0.00                                  $0.00                                    $0.00
                Fund Administrator                                                                                                  $0.00                                  $0.00                                    $0.00
                IDC                                                                                                                 $0.00                                  $0.00                                    $0.00
                Distribution Agent                                                                                                  $0.00                                  $0.00                                    $0.00
                Consultants                                                                                                         $0.00                                  $0.00                                    $0.00
                Legal Advisers                                                                                                      $0.00                                  $0.00                                    $0.00
                Tax Advisers                                                                                                        $0.00                                  $0.00                                    $0.00
            2. Administrative Expenses                                                                                              $0.00                                  $0.00                                    $0.00
            3. Miscellaneous                                                                                                        $0.00                                  $0.00                                    $0.00
            Total Plan Development Expenses Not Paid by the Fund                                                                    $0.00                                  $0.00                                    $0.00
 Line 15b    Plan Implementation Expenses Not Paid by the Fund:
             1. Fees                                                                                                                $0.00                                  $0.00                                    $0.00
                  Fund Administrator                                                                                                $0.00                                  $0.00                                    $0.00
                  IDC                                                                                                               $0.00                                  $0.00                                    $0.00
                  Distribution Agent                                                                                                $0.00                                  $0.00                                    $0.00
                  Consultants                                                                                                       $0.00                                  $0.00                                    $0.00
                  Legal Advisers                                                                                                    $0.00                                  $0.00                                    $0.00
                  Tax Advisers                                                                                                      $0.00                                  $0.00                                    $0.00
             2. Administrative Expenses                                                                                             $0.00                                  $0.00                                    $0.00
             3. Investor Identification:                                                                                            $0.00                                  $0.00                                    $0.00
                   Notice/Publishing Approved Plan                                                                                  $0.00                                  $0.00                                    $0.00
                   Claimant Identification                                                                                          $0.00                                  $0.00                                    $0.00
                   Claims Processing                                                                                                $0.00                                  $0.00                                    $0.00
                   Web Site Maintenance/Call Center                                                                                 $0.00                                  $0.00                                    $0.00
             4. Fund Administrator Bond                                                                                             $0.00                                  $0.00                                    $0.00
             5. Miscellaneous                                                                                                       $0.00                                  $0.00                                    $0.00
             6. FAIR Reporting Expenses                                                                                             $0.00                                  $0.00                                    $0.00
             Total Plan Implementation Expenses Not Paid by the Fund                                                                $0.00                                  $0.00                                    $0.00
 Line 15c    Tax Administrator Fees & Bonds Not Paid by the Fund                                                                    $0.00                                  $0.00                                    $0.00

             Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                              $0.00                                  $0.00                                    $0.00
Line 16      Disbursements to Court/Other Not Paid by the Fund                                                                      $0.00                                  $0.00                                    $0.00
  Line 16a   Investment Expenses/CRIS Fees                                                                                          $0.00                                  $0.00                                    $0.00
  Line 16b   Federal Tax Payments                                                                                                   $0.00                                  $0.00                                    $0.00
             Total Disbursements to Court/Other Not Paid by Fund:                                                                   $0.00                                  $0.00                                    $0.00
Line 17      DC & State Tax Payments                                                                                                $0.00                                  $0.00                                    $0.00
Line 18      No. of Claims:
  Line 18a   # of Claims Received This Reporting Period                                                                               217                                   193                                      410
  Line 18b   # of Claims Received Since Inception of Fund                                                                             410                                   193                                      410
Line 19      No. of Claimants/Investors
  Line 19a   # of Claimants/Investors Paid This Reporting Period                                                                         0                                    0                                         0
  Line 19b   # of Claimants/Investors Paid Since Inception of Fund                                                                       0                                    0                                         0

Notes:

1)           The receivership holds the following non‐cash business assets:                                     Amount of Units (if applicable) Unit Value (as of 6/30/2021)**     Agreggate Value (as of 6/30/2021)
             Bitcoin (BTC)                                                                                                             113.471                         $34,197.55                           $3,880,430.20
             Bitcoin SV                                                                                                                1.55416                            $142.42                                $221.34
             Ether (ETH)                                                                                                               2151.37                           $2,149.87                          $4,625,165.82
             Zcash (ZEC)                                                                                                                7.9046                            $124.39                                $983.25
             Litecoin (LTC)                                                                                                            4358.11                            $139.29                             $607,041.14
             Bitcoin Cash (BTH)                                                                                                      0.0004694
             OMG (OMG)                                                                                                           51.56000141
             Computer equipment, televisions, phones                                                                                                                               $2,000.00 (est)
                                                                                                                                                Total                                                       $9,115,841.75
             *The total approximate value of the cryptocurrencies listed above, as of the date of this filing, is
             $9,113,841.76. There is significant market volatility in the prices of most of these
             cryptocurrencies.

             **sourced from https://coinmarketcap.com/
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                                                  EXHIBIT B

                               SUMMARY OF FEES BY PROFESSIONAL

            Name                      Title      H&K Office       Hourly       Total     Total
                                                  Location     Billing Rate1   Hours     Fees
Kristina S. Azlin                 Partner        Los Angeles     $720.00        10.4     $7,488.00
Jose A. Casal                     Partner          Miami         $850.00        22.6    $19,210.00
Jose A. Casal                     Partner          Miami         $890.00         9.6     $8,544.00
Kevin E. Packman                  Partner          Miami         $850.00         0.3       $255.00
Kevin E. Packman                  Partner          Miami         $925.00         1.0       $925.00
Shawn S. Amuial                   Associate        Miami         $450.00        72.9    $32,805.00
Shawn S. Amuial                   Associate        Miami         $475.00        84.7    $40,232.50
Shawn S. Amuial                   Associate        Miami         $555.00        12.7     $7,048.50
Trisha M. Thompson                Associate       Portland       $325.00        16.2     $5,265.00
Trisha M. Thompson                Associate       Portland       $350.00         2.1       $735.00
Trisha M. Thompson                Associate       Portland       $375.00         0.7       $262.50
                                                                 $162.50
Trisha M. Thompson                Associate       Portland                      4.5       $731.25
                                                               (Travel Rate)
Delia M. Hayes                    Paralegal        Miami         $275.00        3.6       $990.00
Delia M. Hayes                    Paralegal        Miami         $285.00        0.5       $142.50
Sharon O’Dowd                     Paralegal        Miami         $275.00        6.9      $1,897.50
Charles J. Pentis                 Paralegal        Boston        $430.00        1.4       $602.00
Shannan Whalen                    Paralegal        Boston        $300.00        0.2         $60.00
                                  Research
Jacqueline Norton                                  Miami         $225.00        0.3        $67.50
                                  Manager
                                  Litigation &
                                  eDiscovery
Anh Huynh                         Services
                                                   Atlanta       $215.00        3.0       $645.00
                                  Analyst
                                  Litigation &
                                  eDiscovery
Adriano M. Ferreira               Services        New York       $215.00        9.0      $1,935.00
                                  Operations
                                  Manager

          Subtotal:                                                            262.6   $129,841.25


     1
         Before application of 10% discount.
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      Name             Title     H&K Office       Hourly       Total      Total
                                  Location     Billing Rate1   Hours      Fees
(Less 10% Discount)                                                    ($12,984.13)

     TOTAL:                                                    262.6      $116,857.12

                                          Overall Total:          $116,857.12
                                          Attorney Fees:          $123,501.75
                                          Total Attorney Hours:   237.7
                                          Attorneys’ Blended      $519.57
                                          Rate:
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                                 #:1936



                                EXHIBIT C

               SUMMARY OF FEES BY TASK CATEGORY


 Task     Description                     Total Hours       Total Fees
 Code
 B110     Case Administration                 44.2          $21,930.50
 B120     Asset Analysis and Recovery         77.9          $38,524.00
 B130     Asset Disposition                   49.1          $22,589.00
 B150     Creditor Communications              4.0           $1,790.00
 B160     Fee/Employment Applications           0                0
 B190     Other Contested Matters             15.7          $12,211.00
 B195     Travel Time                          4.5            $731.25
 B210     Business Operations                 22.1          $10,335.00
 B220     Employee Issues                     13.8           $6,238.00
 B240     Tax Issues                          26.1          $12,888.50
 B310     Claims Administration                5.2           $2,604.00

          Subtotal:                           262.6         $129,841.25

          (Less 10% Discount)                              ($12,984.13)

          TOTAL:                              262.6         $116,857.12
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                                EXHIBIT D

                         DAILY TIME RECORDS
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Josias N. Dewey as Receiver                                                July 21, 2021
701 Brickell Avenue, Suite 3300                                            Invoice: 6218903
Miami, FL 33131
                                                                           TERMS: DUE ON RECEIPT




                                                REMITTANCE COPY

Our Matter:       159447.00001
                  SEC v. Titanium Blockchain Infrastructure Services, Inc., et al.


FEES FOR PROFESSIONAL SERVICES:                                  $          129,841.25
LESS COURTESY DISCOUNT:                                          $          -12,984.13
PROFESSIONAL FEES:                                               $          116,857.12

REIMBURSABLE COSTS:                                              $            6,564.49



TOTAL DUE THIS INVOICE:                                                                  $    123,421.61




Holland & Knight kindly thanks you for your business and prompt payment.
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   invoice number(s) with your payment.




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Josias N. Dewey as Receiver                                                    July 21, 2021
701 Brickell Avenue, Suite 3300                                                Invoice: 6218903
Miami, FL 33131                                                                Page 1

                                                                               TERMS: DUE ON RECEIPT

For professional services rendered through December 31, 2019 in connection with the following:


Our Matter:       159447.00001
                  SEC v. Titanium Blockchain Infrastructure Services, Inc., et al.


TASK/ACTIVITY

B110 - Case Administration
A101 - Plan and Prepare for

Date         Professional      Description                                          Hours         Rate   Amount
9/7/18       Shawn S.          Meet with Andrew Balthazor to discuss                  1.30    450.00      585.00
             Amuial            tracking Richard Silver's cryptocurrency with
                               coinbase and tracing deposits of Bitcoin and
                               Ether.
11/30/18     Shawn S.          Conversations with Joe Dewey and Wells                 1.10    475.00      522.50
             Amuial            Fargo re: disbursements for compilation of
                               schedules to be submitted with liquidation
                               motion.
12/12/18     Shawn S.          Calls and discussions re the engagement of             0.40    475.00      190.00
             Amuial            GTLLP for accounting services
5/23/19      Delia M.          Gather pleadings to update Receiver's website.         0.30    275.00       82.50
             Hayes
6/20/19      Shawn S.          Meeting with Joe Dewey to discuss potential            0.60    475.00      285.00
             Amuial            verification methods for TBIS investors and
                               compile liquidation plan

Total:       B110              Case Administration
             A101              Plan and Prepare for                                   3.70               1,665.00

B110 - Case Administration
A102 - Research
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                                                                                             July 21, 2021
Holland & Knight                                                                         Invoice: 6218903
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Josias N. Dewey as Receiver
159447.00001

Date       Professional    Description                                        Hours    Rate      Amount
8/15/18    Shawn S.        Research forensic accounting firms in South         0.90   450.00       405.00
           Amuial          Florida.
12/11/18   Jacqueline      Researched specialized databases to locate          0.30   225.00        67.50
           Norton          cases for D. Hayes.

Total:     B110            Case Administration
           A102            Research                                            1.20                472.50

B110 - Case Administration
A103 - Draft/Revise

Date       Professional    Description                                        Hours    Rate      Amount
6/25/18    Jose A. Casal   Review and revise initial status report and         1.30   850.00     1,105.00
                           exchange memoranda with SEC.
6/25/18    Kristina S.     Edit and finalize Initial Status Report to Court    0.50   720.00       360.00
           Azlin           regarding Receivership; file same; circulate
                           same.
7/11/18    Shawn S.        Correspond with Dede Hayes in connection            0.50   450.00       225.00
           Amuial          with pulling the TBIS docket; work with firm
                           IT to make updates to receivership homepage
12/13/18   Shawn S.        Work on standardized fund accounting report         0.90   475.00       427.50
           Amuial
12/17/18   Shawn S.        Draft disbursement summary for filing               1.50   475.00       712.50
           Amuial
12/18/18   Shawn S.        Finalize funding schedule and circulate for         1.10   475.00       522.50
           Amuial          Receiver review.
9/10/19    Shawn S.        Draft and revise motion to partially liquidate      1.10   475.00       522.50
           Amuial          assets
10/3/19    Shawn S.        Review motion for liquidation with Receiver         0.50   555.00       277.50
           Amuial          and further revise motion
10/4/19    Shawn S.        Revise motion for partial liquidation and           0.60   555.00       333.00
           Amuial          correspondences with West Coast litigation
                           team
10/7/19    Shawn S.        Continue to work on revision motion for             0.40   555.00       222.00
           Amuial          partial liquidation and correspondences with
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Josias N. Dewey as Receiver
159447.00001

Date       Professional    Description                                      Hours    Rate      Amount
                           SEC and Receiver
10/8/19    Shawn S.        Discuss general liquidation plans with            0.20   555.00       111.00
           Amuial          Receiver
10/10/19   Shawn S.        Continued revisions to motion and                 0.30   555.00       166.50
           Amuial          correspondences with SEC and Receiver

Total:     B110            Case Administration
           A103            Draft/Revise                                      8.90              4,985.00

B110 - Case Administration
A104 - Review/Analyze

Date       Professional    Description                                      Hours    Rate      Amount
6/25/18    Trisha M.       Review communications between A. Rhodes           0.10   325.00        32.50
           Thompson        and landlord in preparation for upcoming trip
                           to Springfield.
6/26/18    Shawn S.        Read final receiver's' initial status report      0.40   450.00       180.00
           Amuial
7/3/18     Shawn S.        Work with Joe Dewey and firm IT to update         0.50   450.00       225.00
           Amuial          and fix receivership notice website.
9/26/18    Shawn S.        Review RFP by accounting firm for proposed        0.30   450.00       135.00
           Amuial          forensic accounting services.
12/10/18   Shawn S.        Review proposed engagement letter from            0.70   475.00       332.50
           Amuial          Howard Grobstein and correspond with him re
                           the proposed scope and pricing of his
                           accounting services
12/11/18   Delia M.        Review status of SEC v. Titanium case;            0.30   275.00        82.50
           Hayes           telephone conference with Counsel J. Casal
                           concerning pending court deadlines; prepare
                           email to Research department requesting case
                           tracking on same.
1/2/19     Kristina S.     Review status of case, current case schedule,     0.40   720.00       288.00
           Azlin           and outstanding issues (.3); follow-up with J.
                           Casal regarding same in order to schedule
                           planning call (.1).
1/22/19    Jose A. Casal   Review and confer on SEC's proposed motion        0.20   890.00       178.00
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Josias N. Dewey as Receiver
159447.00001

Date       Professional   Description                                      Hours    Rate      Amount
                          for stay.
1/25/19    Shawn S.       Review Lexis Nexis docket alert update.           0.10   475.00        47.50
           Amuial
2/4/19     Kristina S.    Attention to communications among all             0.10   720.00        72.00
           Azlin          counsel and SEC filing regarding lifting of
                          stay (.1).
2/12/19    Shawn S.       Review updates to docket and scheduling           0.30   475.00       142.50
           Amuial         changes for case administration
2/14/19    Shawn S.       Call with Joe Dewey and Jose Casal re call        0.50   475.00       237.50
           Amuial         with Holmes and review accountant invoices
                          with Joe Dewey
4/5/19     Shawn S.       Assist with revisions to Stipulation for Order    0.20   475.00        95.00
           Amuial         Modifying Asset Freeze Re: Funds Held By
                          Coinbase.
5/6/19     Shawn S.       Call and correspondences with internal team       0.50   475.00       237.50
           Amuial         re SEC's request and search through records
                          for requested backup
5/10/19    Shawn S.       Review stipulation drafted by SEC                 0.20   475.00        95.00
           Amuial
5/22/19    Shawn S.       Review consent to judgment circulated by          0.30   475.00       142.50
           Amuial         SEC
10/23/19   Shawn S.       Work with Nicholas Meltzer to review motion       0.20   555.00       111.00
           Amuial         for partial liquidation
10/28/19   Shawn S.       Review draft liquidation and distribution         0.30   555.00       166.50
           Amuial         outline provided by Andrew Balthazor
10/31/19   Shawn S.       Discuss draft liquidation and distribution        0.30   555.00       166.50
           Amuial         outline with Andrew Balthazor
11/1/19    Shawn S.       Work to finalize submission of motion to          0.40   555.00       222.00
           Amuial         partially liquidate
11/4/19    Shawn S.       Discuss draft liquidation and distribution        1.00   555.00       555.00
           Amuial         outline with Joe Dewey and Andrew
                          Balthazor
11/6/19    Shawn S.       Discuss engagement of Hong Kong counsel           0.30   555.00       166.50
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Josias N. Dewey as Receiver
159447.00001

Date       Professional    Description                                       Hours    Rate      Amount
           Amuial          with Andrew Balthazor and Joe Dewey
12/2/19    Shawn S.        Review proposal by Hong Kong counsel to            0.30   555.00       166.50
           Amuial          file action in Hong Kong

Total:     B110            Case Administration
           A104            Review/Analyze                                     7.90              4,077.00

B110 - Case Administration
A105 - Communicate (in firm)

Date       Professional    Description                                       Hours    Rate      Amount
6/27/18    Shawn S.        Work to update receivership account.               0.20   450.00        90.00
           Amuial
8/15/18    Jose A. Casal   Confer with Receiver on Telegram access            0.20   850.00       170.00
                           issues.
1/3/19     Shannan E.      E-mails with team re: matter status, pending       0.20   300.00        60.00
           Whalen          tasks, and scheduling of team call.
1/7/19     Shawn S.        All-hands call with team to discuss status of      0.70   475.00       332.50
           Amuial          case and next steps
1/20/19    Kristina S.     Continued attention to SEC's request for a stay    0.20   720.00       144.00
           Azlin           of case in light of government shut-down (.2).
2/19/19    Shawn S.        Correspondences with internal team re              0.20   475.00        95.00
           Amuial          information on hard drives and discuss with
                           Joe Dewey
5/22/19    Jose A. Casal   Review and confer on effect of judgment,           0.50   890.00       445.00
                           proposed liquidation of assets and plan of
                           distribution.
6/13/19    Trisha M.       Review mail received from Kroll; Email to          0.10   350.00        35.00
           Thompson        H&K legal team re: same.
6/17/19    Trisha M.       Emails re: TBIS property stored in the             0.10   350.00        35.00
           Thompson        Portland office.
11/14/19   Shawn S.        Discussion and correspondences with Andrew         1.00   555.00       555.00
           Amuial          Balthazor re Hong Kong counsel and call with
                           Hong Kong counsel
11/26/19   Shawn S.        Further discuss liquidation methodology with       0.70   555.00       388.50
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                                                                                          July 21, 2021
Holland & Knight                                                                      Invoice: 6218903
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Josias N. Dewey as Receiver
159447.00001

Date      Professional    Description                                      Hours    Rate      Amount
          Amuial          Receiver and commence liquidation per
                          Court's order

Total:    B110            Case Administration
          A105            Communicate (in firm)                             4.10              2,350.00

B110 - Case Administration
A107 - Communicate (other outside counsel)

Date      Professional    Description                                      Hours    Rate      Amount
6/27/18   Jose A. Casal   Telephone conference with counsel for M.          0.20   850.00       170.00
                          Stollaire.
7/17/18   Jose A. Casal   Conference call with D. Brown and Receiver        0.40   850.00       340.00
                          regarding forensic findings.
7/27/18   Jose A. Casal   Exchange memoranda with M. Stollaire's            0.20   850.00       170.00
                          counsel regarding turnover of items in safe
                          deposit box.
8/7/18    Jose A. Casal   Review and exchange memoranda with A.             0.40   850.00       340.00
                          Tyler (DOJ) and Receiver regarding access to
                          Telegram.
8/13/18   Jose A. Casal   Exchange memoranda with A. Tyler (DOJ).           0.20   850.00       170.00
8/15/18   Jose A. Casal   Telephone conference with A. Tyler (DOJ)          0.20   850.00       170.00
                          regarding telegram inquiry.
8/23/18   Jose A. Casal   Telephone conference with D. Brown                0.70   850.00       595.00
                          regarding status of investigations and prepare
                          memorandum.
6/19/19   Jose A. Casal   Conference call with D. Miller of SEC             0.30   890.00       267.00
                          regarding disgorgement claim.

Total:    B110            Case Administration
          A107            Communicate (other outside counsel)               2.60              2,222.00

B110 - Case Administration
A108 - Communicate (other external)

Date      Professional    Description                                      Hours    Rate      Amount
8/22/18   Jose A. Casal   Conference call with DOJ and FBI regarding        0.40   850.00       340.00
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Date       Professional   Description                                        Hours    Rate      Amount
                          Telegram account.
12/13/18   Shawn S.       Draft and send email to SEC re accounting           0.20   475.00        95.00
           Amuial         services
12/14/18   Shawn S.       Correspondence with David Brown with SEC            0.20   475.00        95.00
           Amuial         and coordinate call with SEC and H&K
1/7/19     Shawn S.       Correspondence with receivership accountant         0.20   475.00        95.00
           Amuial         sending engagement letter and discussing tax
                          election of non-receivership entity
1/18/19    Kristina S.    Attention to communications from the SEC            0.20   720.00       144.00
           Azlin          and draft motion for stay of case in light of
                          government shut-down (.2).
2/1/19     Kristina S.    Attention to communications from the SEC            0.10   720.00        72.00
           Azlin          and draft motion to lift stay (.1)
2/6/19     Trisha M.      Review communications re: former TBIS               0.10   350.00        35.00
           Thompson       employee W2s.
4/1/19     Shawn S.       Review correspondences from Stollaire's             0.10   475.00        47.50
           Amuial         attorney re Wyoming virtual assistant and
                          reach out to assistant for additional
                          information
4/5/19     Kristina S.    Attention to status of Mr. Silver's signature on    0.20   720.00       144.00
           Azlin          Coinbase Stipulation; further communications
                          with counsel for the SEC regarding setting a
                          call to discuss case schedule and status of
                          receivership.
4/9/19     Kristina S.    Participate in call with counsel for the SEC        0.50   720.00       360.00
           Azlin          regarding case schedule and status of
                          receivership; update calendar and task list in
                          response to same.
4/9/19     Shawn S.       Prep for call with SEC and call with SEC            1.00   475.00       475.00
           Amuial
4/11/19    Kristina S.    Continue to follow-up on requests from SEC          0.20   720.00       144.00
           Azlin          regarding document collection and recovery
                          issues; further attention to communications
                          regarding Receiver's status report.
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Date       Professional   Description                                       Hours    Rate      Amount
4/12/19    Kristina S.    Continue to follow-up on requests from SEC         0.20   720.00       144.00
           Azlin          regarding document collection and recovery
                          issues.
4/14/19    Kristina S.    Attention to communications with counsel for       0.20   720.00       144.00
           Azlin          the SEC regarding document collection and
                          recovery issues.
6/4/19     Shawn S.       Correspondences and voicemail re request           0.10   475.00        47.50
           Amuial         from SEC for update on receivership
6/7/19     Shawn S.       Review correspondence from SEC and discuss         0.20   475.00        95.00
           Amuial         with Joe Dewey
6/28/19    Shawn S.       Plan for call with research and call with SEC      0.70   475.00       332.50
           Amuial
10/24/19   Shawn S.       Correspondences with SEC re filing of motion       0.20   555.00       111.00
           Amuial         for partial liquidation
10/25/19   Shawn S.       Correspondences with SEC and H&K re filing         0.30   555.00       166.50
           Amuial         of motion for partial liquidation
12/26/19   Shawn S.       Correspondences in anticipation of call and        0.50   555.00       277.50
           Amuial         call with Hong Kong counsel

Total:     B110           Case Administration
           A108           Communicate (other external)                       5.80              3,364.50

B110 - Case Administration
A110 - Manage Data/Files

Date       Professional   Description                                       Hours    Rate      Amount
12/11/18   Sharon K.      Begin review of case pleadings (.4); begin         1.40   275.00       385.00
           O'Dowd         notification of receiver and team re relevant
                          deadlines (1.0).
12/12/18   Sharon K.      Review and analyze jury trial order re             1.00   275.00       275.00
           O'Dowd         deadlines and filing requirements; review
                          judge's website for preferred document
                          samples (1.0).
12/14/18   Sharon K.      Further review of case pleadings (.8); further     3.30   275.00       907.50
           O'Dowd         notification of receiver and team re individual
                          deadlines and reminders (2.5).
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Date       Professional   Description                                       Hours    Rate      Amount
12/21/18   Sharon K.      Additional review of case pleadings (.6);          1.20   275.00       330.00
           O'Dowd         notification of receiver and team re individual
                          deadlines and reminders (.6).
2/12/19    Delia M.       Review Court's order and calendar events           0.90   275.00       247.50
           Hayes          based on new scheduling order.
4/9/19     Delia M.       Prepare files for Receiver website update.         0.20   275.00        55.00
           Hayes
5/15/19    Delia M.       Upload files and prepare for Receiver's            0.80   275.00       220.00
           Hayes          website.
5/16/19    Delia M.       Assist counsel in downloading current Court        1.10   275.00       302.50
           Hayes          pleadings and prepare for website.

Total:     B110           Case Administration
           A110           Manage Data/Files                                  9.90              2,722.50

B110 - Case Administration
A111 - Other

Date       Professional   Description                                       Hours    Rate      Amount
1/24/19    Kristina S.    Attention to order from Court granting SEC's       0.10   720.00        72.00
           Azlin          request for a stay of case in light of
                          government shut-down (.1).

Total:     B110           Case Administration
           A111           Other                                              0.10                 72.00

B120 - Asset Analysis and Recovery
A101 - Plan and Prepare for

Date       Professional   Description                                       Hours    Rate      Amount
6/27/18    Trisha M.      Prepare for trip to TBIS Springfield office to     0.50   325.00       162.50
           Thompson       remove property from leased premises.
8/20/18    Shawn S.       Meeting with Joe Dewey to discuss next steps       0.30   450.00       135.00
           Amuial         with respect to tracing cryptocurrency through
                          cryptocurrency exchanges.
2/21/19    Anh Huynh      Analyzing Mac file system collection folder        3.00   215.00       645.00
                          for personal files since data contains both
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Date      Professional    Description                                      Hours    Rate      Amount
                          allocated and unallocated memory.

Total:    B120            Asset Analysis and Recovery
          A101            Plan and Prepare for                              3.80                942.50

B120 - Asset Analysis and Recovery
A102 - Research

Date      Professional    Description                                      Hours    Rate      Amount
11/5/18   Shawn S.        Finalize review of Andrew Balthazor's             0.50   475.00       237.50
          Amuial          analysis of BFP laws as they pertain to crypto
                          theft

Total:    B120            Asset Analysis and Recovery
          A102            Research                                          0.50                237.50

B120 - Asset Analysis and Recovery
A103 - Draft/Revise

Date      Professional    Description                                      Hours    Rate      Amount
7/16/18   Jose A. Casal   Revise and finalize follow up inquiries to        0.30   850.00       255.00
                          HitBTC.
7/16/18   Jose A. Casal   Revise and finalize demand letter to              0.30   850.00       255.00
                          Changelly.com.
7/22/18   Shawn S.        Draft re response letter to HitBTC; send to       0.90   450.00       405.00
          Amuial          Jose Casal and Joe Dewey for review.
7/25/18   Shawn S.        Correspondences with Joe Dewey, Josh              0.80   450.00       360.00
          Amuial          Strickon and Andrew Balthazor re potential
                          strategies for further asset recovery analysis
                          via analysis of crypto transfers.
8/1/18    Shawn S.        Revise draft stipulation requesting funds from    1.80   450.00       810.00
          Amuial          Coinbase (.8); review spreadsheets provided
                          by Receiver to identify the relevant accounts
                          (1.0).
8/6/18    Jose A. Casal   Review and revise proposed stipulation with       0.60   850.00       510.00
                          R. Silver.
3/5/19    Jose A. Casal   Review and edit updated Coinbase stipulation.     0.30   890.00       267.00
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Date      Professional   Description                                       Hours    Rate      Amount
6/21/19   Shawn S.       Several calls with Bank and draft two letters      1.80   475.00       855.00
          Amuial         to Bank requesting records requested by
                         Receiver
7/2/19    Shawn S.       Research status with wallets hosted on             1.50   475.00       712.50
          Amuial         HitBTC that had control/possession of stolen
                         crypto and draft letter to HitBTC asking for
                         transfer of crypto to recievership.
8/19/19   Shawn S.       Revise letter requesting possession of             0.50   475.00       237.50
          Amuial         cryptocurrency
8/20/19   Shawn S.       Modify letter to counsel re transfer of digital    0.20   475.00        95.00
          Amuial         assets
10/7/19   Shawn S.       Work with Portland office on disposition of        0.30   555.00       166.50
          Amuial         personal property

Total:    B120           Asset Analysis and Recovery
          A103           Draft/Revise                                       9.30              4,928.50

B120 - Asset Analysis and Recovery
A104 - Review/Analyze

Date      Professional   Description                                       Hours    Rate      Amount
6/26/18   Shawn S.       Continue reviewing analysis re stolen Ether        0.50   450.00       225.00
          Amuial
6/27/18   Shawn S.       Correspondences with Joe Dewey and                 0.50   450.00       225.00
          Amuial         Andrew Balthazor regarding recovery of
                         stolen Ether.
7/5/18    Trisha M.      Review inventory of items collected from           0.30   325.00        97.50
          Thompson       TBIS Springfield on June 28, 2018.
7/5/18    Shawn S.       Review contents of "Becky's box" to attain         0.50   450.00       225.00
          Amuial         and analyze any company-owned
                         assets/documents.
7/9/18    Shawn S.       Continue to review contents of box shipped         0.80   450.00       360.00
          Amuial         from Portland office; consolidate Becky's
                         Mile's property for FedEx.
7/10/18   Shawn S.       Work with Joe Dewey and Melody Grafals to          0.80   450.00       360.00
          Amuial         consolidate financial information into a
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Date      Professional    Description                                        Hours    Rate      Amount
                          consolidated spreadsheet.
7/12/18   Jose A. Casal   Review and analyze response from HitBTC             1.50   850.00     1,275.00
                          and exchange memoranda with Receiver and
                          SEC.
7/16/18   Shawn S.        Discussions with Andrew Balthazor and Joe           1.00   450.00       450.00
          Amuial          Dewey regarding progress re findings of trail
                          of cryptocurrency through several exchanges;
                          document processes used to attain such
                          findings; work with Andrew and Josh Strickon
                          to refine data collection software in efforts to
                          more precisely analyze patterns between given
                          wallets through which the stolen
                          cryptocurrency was transferred
7/17/18   Shawn S.        Review analysis of trail of stolen                  1.10   450.00       495.00
          Amuial          cryptocurrency and discuss findings with
                          receiver.
7/18/18   Shawn S.        Discussions with Andrew Balthazor and Joe           0.90   450.00       405.00
          Amuial          Dewey regarding progress re findings of trail
                          of cryptocurrency through several exchanges;
                          document processes used to attain such
                          findings; work with Andrew and Josh Strickon
                          to refine data collection software in efforts to
                          more precisely analyze patterns between given
                          wallets through which the stolen
                          cryptocurrency was transferred.
7/19/18   Shawn S.        Correspondences with Andrew Balthazor re            0.40   450.00       180.00
          Amuial          findings of trail of cryptocurrency through
                          several exchanges; document processes used
                          to attain such findings.
7/20/18   Jose A. Casal   Review and confer on further response from          0.30   850.00       255.00
                          HitBTC.
7/23/18   Jose A. Casal   Review proposed response to HitBTC.                 0.30   850.00       255.00
7/27/18   Shawn S.        Receipt of hard drive from Kroll with image         0.90   450.00       405.00
          Amuial          of laptop content; review content; discuss with
                          Joe Dewey.
7/31/18   Jose A. Casal   Review HitBTC correspondence to UK cyber            0.20   850.00       170.00
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Date       Professional    Description                                      Hours    Rate      Amount
                           crimes police unit and exchange memoranda.
8/8/18     Shawn S.        Review content of hard drive provided from        2.10   450.00       945.00
           Amuial          Kroll with images of Silver, Stollaire and
                           Hadi's hard drives.
8/10/18    Shawn S.        Review ICO rating report compiled for TBIS        0.40   450.00       180.00
           Amuial          by CryptoCentral; analyze facts described
                           against company-related content.
9/6/18     Shawn S.        Review Coinbase account spreadsheets to           0.40   450.00       180.00
           Amuial          determine details of Richard Silver's account
                           per requested information from Stollaire's
                           attorney.
9/12/18    Shawn S.        Work with Andrew Balthazor to derive which,       0.40   450.00       180.00
           Amuial          and how much, cryptocurrency belonged to
                           Richard Silver and not TBIS.
10/18/18   Shawn S.        Review analysis provided by Andrew                0.30   475.00       142.50
           Amuial          Balthazor pertaining to third party claims and
                           send response to analysis
10/23/18   Jose A. Casal   Review and analyze response from Changelly.       0.20   890.00       178.00
10/23/18   Shawn S.        Review feedback from Changelly re request         0.40   475.00       190.00
           Amuial          for information pertaining to certain public
                           address and discuss analysis with Andrew
                           Balthazor
10/24/18   Shawn S.        Continued correspondences and analysis with       0.50   475.00       237.50
           Amuial          Andrew Balthazor re feedback from
                           Changelly and its application to our prior
                           analysis
10/31/18   Shawn S.        Review analysis by Andrew Balthazor re BFP        0.50   475.00       237.50
           Amuial          application to crypto theft
11/20/18   Shawn S.        Review updated summary from Andrew                0.50   475.00       237.50
           Amuial          Balthazor re implications of sale of crypto to
                           BFP
11/21/18   Shawn S.        Continue review updated summary from              0.60   475.00       285.00
           Amuial          Andrew Balthazor re implications of sale of
                           crypto to BFP
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Date       Professional   Description                                       Hours    Rate      Amount
11/27/18   Shawn S.       Discuss and review correspondences with            1.00   475.00       475.00
           Amuial         Josh Strickon, Joe Dewey and Andrew
                          Balthazor re BlockBlade and tracing trail of
                          Bitcoin stolen from TBIS
12/10/18   Shawn S.       Correspondence with Staci Dawson re                0.60   475.00       285.00
           Amuial         personal property and search through on site
                          storage boxes for requested personal property
1/8/19     Kristina S.    Continued attention to status of Coinbase          0.20   720.00       144.00
           Azlin          stipulation and communications among
                          counsel regarding same (.2).
1/10/19    Kristina S.    Prepare and transmit email to counsel for of       0.60   720.00       432.00
           Azlin          Mr. Stollaire regarding stipulation to access
                          Coinbase assets (.6).
1/15/19    Kristina S.    Follow-up with counsel for Mr. Stollaire           0.10   720.00        72.00
           Azlin          regarding stipulation to access Coinbase assets
                          (.1).
2/21/19    Adriano M.     Call with C. Sorley to discuss evidence            0.80   215.00       172.00
           Ferreira       collected for Michael Stollaire for review.
2/22/19    Adriano M.     Review and analyze evidence logs to prepare        3.80   215.00       817.00
           Ferreira       evidence for Michael Stollaire's review.
2/26/19    Adriano M.     Review and analyze evidence logs for Michael       0.60   215.00       129.00
           Ferreira       Stollaire; Call with A. Valentine of Kroll to
                          discuss RAID Array rebuilding for Michael
                          Stollaire evidence
2/27/19    Adriano M.     Work on preparation of evidence for Michael        0.50   215.00       107.50
           Ferreira       Stollaire's review.
3/2/19     Adriano M.     Prepare evidence for Michael Stollaire for         1.50   215.00       322.50
           Ferreira       review.
3/4/19     Kristina S.    Update draft of proposed Coinbase stipulation      0.40   720.00       288.00
           Azlin          and circulate same to H& team for comment
                          (.4).
3/5/19     Kristina S.    Distribute updated draft of proposed Coinbase      0.20   720.00       144.00
           Azlin          stipulation to all counsel (.2).
3/5/19     Adriano M.     Prepare evidence for Michael Stollaire for         0.50   215.00       107.50
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Date      Professional    Description                                        Hours    Rate      Amount
          Ferreira        review.
3/6/19    Kristina S.     Attention to follow-up communications               0.20   720.00       144.00
          Azlin           regarding status of Coinbase stipulation.
3/11/19   Kristina S.     Attention to status of the Coinbase stipulation.    0.20   720.00       144.00
          Azlin
3/14/19   Kristina S.     Email all counsel regarding agreement to            0.70   720.00       504.00
          Azlin           proposed Coinbase stipulation (.4); attention
                          to follow-up communications with counsel
                          concerning same (.3).
3/15/19   Kristina S.     Continued attention to follow-up                    0.10   720.00        72.00
          Azlin           communications regarding the Coinbase
                          stipulation (.1).
4/10/19   Jose A. Casal   Review order approving Coinbase stipulation         0.50   890.00       445.00
                          and transmit to R. Silver and Coinbase.
4/11/19   Shawn S.        Review correspondences from COINBASE re             0.40   475.00       190.00
          Amuial          released crypto and discuss with receiver and
                          Jose Casal
6/18/19   Shawn S.        Review/analyze progress by internal team on         0.50   475.00       237.50
          Amuial          research for potential liquidation and
                          disposition
7/8/19    Shawn S.        Review content of SD Card chip and USB              0.70   475.00       332.50
          Amuial          stick sent from Portland and discuss with
                          Receiver
7/9/19    Shawn S.        Review correspondences and precedent sent           0.80   475.00       380.00
          Amuial          from SEC in connection with liquidation and
                          distribution plans
7/10/19   Shawn S.        Review correspondences from JP Morgan               0.60   475.00       285.00
          Amuial          chase, call bank to discuss requested
                          documents, and coordinate with bank
                          representative
7/17/19   Shawn S.        Review produced documents from JP Morgan            0.70   475.00       332.50
          Amuial          Chase Bank
8/22/19   Shawn S.        Review HitBTC transparency policy re                0.30   475.00       142.50
          Amuial          requirements for requesting transfer of frozen
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Date       Professional    Description                                        Hours    Rate      Amount
                           assets
9/24/19    Shawn S.        Review proposed draft plans and analysis for        0.60   475.00       285.00
           Amuial          liquidation and distribution presented by
                           Andrew

Total:     B120            Asset Analysis and Recovery
           A104            Review/Analyze                                     33.40             15,365.00

B120 - Asset Analysis and Recovery
A105 - Communicate (in firm)

Date       Professional    Description                                        Hours    Rate      Amount
7/2/18     Trisha M.       Communications with S. Amuial re: TBIS              0.10   325.00        32.50
           Thompson        Springfield property.
7/12/18    Shawn S.        Discussions with Andrew Balthazor and Joe           1.10   450.00       495.00
           Amuial          Dewey regarding memo from HitBTC and
                           potential paths it leads to in terms of suspect
                           wallets.
7/26/18    Shawn S.        Meeting with Andrew Balthazor to discuss his        0.40   450.00       180.00
           Amuial          work research; review summary memo.
9/6/18     Jose A. Casal   Review response from Stollaire's counsel            0.30   850.00       255.00
                           regarding Coinbase stipulation and exchange
                           memoranda on account information.
10/4/18    Shawn S.        Meeting with Joe Dewey to discuss standing          0.40   475.00       190.00
           Amuial          to pursue a case against token "ratings
                           companies"
10/8/18    Shawn S.        Meeting with Joe Dewey to discuss status of         0.30   475.00       142.50
           Amuial          next steps for asset analysis and recovery
10/12/18   Shawn S.        Discuss and coordinate call with Cryptopia          0.20   475.00        95.00
           Amuial          with Joe Dewey
12/11/18   Shawn S.        Coordinate signature for engagement of              0.20   475.00        95.00
           Amuial          Howard Groberstein
1/7/19     Kristina S.     Participate in team call in order to review         0.70   720.00       504.00
           Azlin           outstanding items and strategize regarding
                           next steps (.4); attention to status of Coinbase
                           stipulation and status of communications
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Date      Professional    Description                                       Hours    Rate      Amount
                          among counsel regarding same (.3).
2/20/19   Shawn S.        Coordinte and correpsond with internal IT and      0.60   475.00       285.00
          Amuial          doc review team re recovery of information on
                          hard drives provided by Kroll
2/22/19   Shawn S.        Several calls and correspondences with IT          1.20   475.00       570.00
          Amuial          team in connection with information
                          contained on hard drives in connection with
                          trying to retrieve such information
2/22/19   Adriano M.      Call with C. Sorley, A. Chen, J. Washburn, to      0.90   215.00       193.50
          Ferreira        discuss forensic collection of Michael
                          Stollaire evidence and strategy for searching
                          of relevant data (0.4); Call with C. Sorley and
                          S. Strnad to dicuss forensic collection Michael
                          Stollaire evidence (0.3); Call with C. Sorley
                          and S. Amuial to discuss evidence and
                          strategy for searching of relevant data for
                          review (0.2)
2/25/19   Shawn S.        Call with receiver and internal e-discovery        0.60   475.00       285.00
          Amuial          team to discuss issues surrounding hard drives
                          recovered and provided by Kroll
2/25/19   Adriano M.      Teleconference with J. Washburn, J. Dewey          0.40   215.00        86.00
          Ferreira        and S. Amuial to discuss evidence for review
                          for Michael Stollaire
3/5/19    Shawn S.        Coordinate with receiver re: issues                0.30   475.00       142.50
          Amuial          surrounding employee W-2s.
3/18/19   Kristina S.     Follow up re: status of Coinbase stipulation.      0.10   720.00        72.00
          Azlin
3/21/19   Jose A. Casal   Review and comment on UK ether theft               0.20   890.00       178.00
                          investigations.
3/22/19   Jose A. Casal   Exchange memoranda on European                     0.20   890.00       178.00
                          investigators of Ether theft.
6/17/19   Shawn S.        Correspondences with Portland office re            0.10   475.00        47.50
          Amuial          property sent to them from Kroll as well as the
                          disposition of personal property
8/20/19   Shawn S.        Call with Jose Casal and Joe Dewey to discuss      0.80   475.00       380.00
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Josias N. Dewey as Receiver
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Date       Professional    Description                                      Hours    Rate      Amount
           Amuial          assets held by HitBTC and send follow up
                           request to HitBTC asking for release of frozen
                           assets
9/10/19    Jose A. Casal   Review strategies on recovery of Hit BTC          0.30   890.00       267.00
                           account.
11/8/19    Shawn S.        Call to discuss engagement of Hong Kong           0.30   555.00       166.50
           Amuial          counsel for asset recovery
11/11/19   Shawn S.        Discussion and correspondences with Andrew        0.30   555.00       166.50
           Amuial          Balthazor re engagement of Hong Kong
                           counsel for asset recovery
12/30/19   Shawn S.        Correspondences and discussions with internal     1.20   555.00       666.00
           Amuial          team re claim date cutoffs based on SEC's
                           complaint as well as discussion regarding pre
                           and post receivership owed employment taxes

Total:     B120            Asset Analysis and Recovery
           A105            Communicate (in firm)                            11.20              5,672.50

B120 - Asset Analysis and Recovery
A106 - Communicate (with client)

Date       Professional    Description                                      Hours    Rate      Amount
6/23/18    Jose A. Casal   Exchange memoranda with receiver and D.           0.20   850.00       170.00
                           Brown (SEC) regarding US Bank status.

Total:     B120            Asset Analysis and Recovery
           A106            Communicate (with client)                         0.20                170.00

B120 - Asset Analysis and Recovery
A107 - Communicate (other outside counsel)

Date       Professional    Description                                      Hours    Rate      Amount
6/25/18    Jose A. Casal   Review response from HitBTC and confer on         0.30   850.00       255.00
                           additional steps.
6/27/18    Jose A. Casal   Exchange memoranda with D. Brown (SEC)            0.20   850.00       170.00
                           regarding HitBTC.
7/20/18    Jose A. Casal   Review and exchange memoranda with D.             0.60   850.00       510.00
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Josias N. Dewey as Receiver
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Date      Professional    Description                                   Hours    Rate      Amount
                          Brown regarding Coinbase and R. Silver
                          account.
7/20/18   Jose A. Casal   Telephone conference with Coinbase             0.30   850.00       255.00
                          regarding R. Silver account.
7/27/18   Jose A. Casal   Exchange memoranda with Coinbase on            0.40   850.00       340.00
                          release of accounts.
7/27/18   Jose A. Casal   Exchange memoranda on proposed stipulation     0.30   850.00       255.00
                          with R. Silver regarding Coinbase accounts.
7/30/18   Jose A. Casal   Telephone conference with D. Brown (SEC)       0.30   850.00       255.00
                          regarding status of HitBTC disclosures and
                          other investigations.
8/16/18   Jose A. Casal   Telephone conference with D. Brown (SEC)       0.30   850.00       255.00
                          regarding status of investigation.
9/15/18   Jose A. Casal   Exchange memoranda with M. Stollaire's         0.30   850.00       255.00
                          counsel regarding contents of Coinbase
                          account and status of proposed stipulation.
9/25/18   Jose A. Casal   Telephone conference with D. Brown (SEC)       0.30   850.00       255.00
                          regarding status of stipulation.
5/6/19    Jose A. Casal   Telephone conference with SEC counsel          0.30   890.00       267.00
                          regarding potential disgorgement and
                          settlement issues with M. Stollaire.

Total:    B120            Asset Analysis and Recovery
          A107            Communicate (other outside counsel)            3.60              3,072.00

B120 - Asset Analysis and Recovery
A108 - Communicate (other external)

Date      Professional    Description                                   Hours    Rate      Amount
6/24/18   Shawn S.        Correspondences with Elena from H&K LA         0.50   450.00       225.00
          Amuial          office on items to pick up on Monday;
                          correspondences with Mary from Chase Base
                          on Ventura
6/26/18   Jose A. Casal   Conference call with US Bank regarding ACH     0.40   850.00       340.00
                          transactions and account activity prior to
                          receivership.
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Josias N. Dewey as Receiver
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Date       Professional    Description                                       Hours    Rate      Amount
6/27/18    Jose A. Casal   Prepare response to HitBTC regarding               0.30   850.00       255.00
                           authority to act on behalf of receiver.
7/5/18     Shawn S.        Call and correspondences with Wells Fargo re       0.80   450.00       360.00
           Amuial          outgoing wires.
7/11/18    Shawn S.        Call with Joe Dewey and Secret Service to          0.80   450.00       360.00
           Amuial          discuss pertinent updates in case; review prior
                           research on trail of stolen crypto to see what
                           has been run through Binance exchange;
                           discuss with Joe
8/1/18     Jose A. Casal   Exchange memoranda with Coinbase.                  0.30   850.00       255.00
8/6/18     Jose A. Casal   Review memorandum from Coinbase and                0.20   850.00       170.00
                           exchange with Receiver.
8/7/18     Shawn S.        Correspondences with Coinbase to set up new        0.70   450.00       315.00
           Amuial          Coinbase account for receivership in
                           anticipation of motion being granted to
                           transfer crytocurrency from Richard Silver's
                           account to receivership's account.
10/10/18   Shawn S.        Review and reply to correspondences with           0.30   475.00       142.50
           Amuial          Cryptopia
10/22/18   Shawn S.        Correspondence to Matt Dol with Cryptopia          0.10   475.00        47.50
           Amuial
12/3/18    Shawn S.        Correspondences with Wells Fargo to attain         0.20   475.00        95.00
           Amuial          updated schedule of disbursements
12/18/18   Shawn S.        Internal and external communications with          0.40   475.00       190.00
           Amuial          SEC re referral of expert for crypto cases
1/22/19    Shawn S.        Several communications with Andrew                 0.50   475.00       237.50
           Amuial          Valentine at Kroll and Trisha Thompson re
                           electronics in possession in Portland to
                           confirm whether certain items have been
                           imaged and tracked
1/23/19    Shawn S.        Correspondences to Cryptopia                       0.20   475.00        95.00
           Amuial
3/5/19     Jose A. Casal   Exchange memoranda with R. Silver                  0.80   890.00       712.00
                           regarding Coinbase stipulation and payroll
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Josias N. Dewey as Receiver
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Date       Professional    Description                                       Hours    Rate      Amount
                           records.
3/6/19     Shawn S.        Calls to Intuit, Inc. to discuss TBIS's records    0.90   475.00       427.50
           Amuial          with company and reach out to internal client
                           contact to establish contact with company
3/15/19    Jose A. Casal   Exchange memoranda with R. Silver on status        0.20   890.00       178.00
                           of Coinbase stipulation.
3/18/19    Shawn S.        Call with Dena Singer, CPA, and call with          0.60   475.00       285.00
           Amuial          Quickbooks to recover payroll information
                           from Dena's wholesale Quickbooks account
3/21/19    Shawn S.        Correspondence with internal team and to FBI       0.60   475.00       285.00
           Amuial          attache in London re status of investigation
                           against suspected Ether thief
4/5/19     Jose A. Casal   Follow up communications with R. Silver on         0.20   890.00       178.00
                           Coinbase stipulation.
4/9/19     Jose A. Casal   Prepare and exchange memoranda with R.             0.30   890.00       267.00
                           Silver and Coinbase regarding filing and
                           status of stipulation.
4/10/19    Jose A. Casal   Telephone conference with Coinbase on              0.20   890.00       178.00
                           transfer of assets to Receiver.
4/11/19    Jose A. Casal   Telephone conference with Coinbase                 0.20   890.00       178.00
                           regarding transfer of remaining
                           cryptocurrency assets from Silver account.
6/14/19    Shawn S.        Obtain contact info for legal department at        0.30   475.00       142.50
           Amuial          bank to retrieve requested information and
                           reach out to bank
12/19/19   Shawn S.        Review correspondences from HitBTC re              0.40   555.00       222.00
           Amuial          frozen assets and discuss response request for
                           a call as well as potential suit filed for
                           recovery of assets

Total:     B120            Asset Analysis and Recovery
           A108            Communicate (other external)                      10.40              6,140.50

B120 - Asset Analysis and Recovery
A109 - Appear for/Attend
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Josias N. Dewey as Receiver
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Date      Professional   Description                                       Hours    Rate      Amount
6/28/18   Trisha M.      Attend to return of approved personal property     4.50   325.00     1,462.50
          Thompson       to former TBIS Springfield employees and
                         subsequent delivery of unreturned property to
                         H&K Portland office.

Total:    B120           Asset Analysis and Recovery
          A109           Appear for/Attend                                  4.50              1,462.50

B120 - Asset Analysis and Recovery
A111 - Other

Date      Professional   Description                                       Hours    Rate      Amount
7/11/18   Trisha M.      Review and catalog items received from             0.20   325.00        65.00
          Thompson       Kroll; Communications with receiver re:
                         return to B. Miles & R. Silver.
8/8/18    Shawn S.       Correspondences and call with Jose Casal re        0.40   450.00       180.00
          Amuial         motion to compel Silver to transfer assets
                         from Coinbase.
4/8/19    Kristina S.    Finalize and file Coinbase Stipulation and         0.30   720.00       216.00
          Azlin          Proposed Order; further attention to
                         communications with counsel for the SEC
                         regarding call to discuss case schedule and
                         status of receivership.
4/10/19   Kristina S.    Attention to Court's issuance of final Coinbase    0.10   720.00        72.00
          Azlin          Order.

Total:    B120           Asset Analysis and Recovery
          A111           Other                                              1.00                533.00

B130 - Asset Disposition
A101 - Plan and Prepare for

Date      Professional   Description                                       Hours    Rate      Amount
6/26/18   Trisha M.      Attention to disposition of personal items,        2.00   325.00       650.00
          Thompson       including research on value of claimed
                         personal items on R. Silver's list, itemization
                         of those which may be released to TBIS
                         Springfield employees, and communications
                         with client re: same.
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Josias N. Dewey as Receiver
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Date       Professional    Description                                        Hours    Rate      Amount
9/10/18    Trisha M.       Research value and ownership of TBIS                2.40   325.00       780.00
           Thompson        Springfield items in the Receiver's possession
                           and research potential options for sale of items
                           not disputed.
9/13/18    Shawn S.        Coordinate disposition of laptop back to            0.20   450.00        90.00
           Amuial          Michael Stollaire.
9/20/18    Trisha M.       Draft cover letter re: return of TBIS               0.20   325.00        65.00
           Thompson        Springfield items to R. Silver and coordinate
                           mailing.
6/4/19     Shawn S.        Work with Receiver to draft outline for issues      1.70   475.00       807.50
           Amuial          needed to be addressed in connection with
                           plan to liquidate and distribute receivership
                           assets.
6/13/19    Shawn S.        Correspondences with Andrew Balthazor re            0.30   475.00       142.50
           Amuial          analysis of ethereum smart contract deposits
                           for TBIS ICO
7/2/19     Shawn S.        Work on partial liquidation plan for                0.50   475.00       237.50
           Amuial          immediate receivership needs.
9/9/19     Shawn S.        Conference with Receiver and A. Balthazor to        2.50   475.00     1,187.50
           Amuial          discuss strategy for liquidation and
                           distribution plan and liquidation motion.
9/10/19    Shawn S.        Meeting with Andrew Balthazor to discuss            0.50   475.00       237.50
           Amuial          liquidation and distribution plan and discuss
                           motion to HitBtc
12/13/19   Delia M.        Assist Counsel in reviewing Court activity;         0.50   285.00       142.50
           Hayes           assist counsel in updating website for
                           Receivership.
12/31/19   Shawn S.        Work with receiver throughout the day to            1.30   555.00       721.50
           Amuial          liquidate cryptocurrency in connection with
                           approved liquidation motion

Total:     B130            Asset Disposition
           A101            Plan and Prepare for                               12.10              5,061.50

B130 - Asset Disposition
A102 - Research
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Josias N. Dewey as Receiver
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Date      Professional     Description                                       Hours    Rate      Amount
6/24/19   Shawn S.         Research potential smart contract mechanisms       0.20   475.00        95.00
          Amuial           for asset disposition
8/19/19   Shawn S.         Research in connection with potential              0.90   475.00       427.50
          Amuial           liquidation plans and transfer of assets in
                           Portland

Total:    B130             Asset Disposition
          A102             Research                                           1.10                522.50

B130 - Asset Disposition
A103 - Draft/Revise

Date      Professional     Description                                       Hours    Rate      Amount
6/26/18   Shawn S.         Correspondences with Portland office re            0.40   450.00       180.00
          Amuial           termination of Lease
6/28/18   Trisha M.        Draft lease termination agreement between          0.40   325.00       130.00
          Thompson         TBIS and Hyland Business Park.
7/16/18   Shawn S.         Revise unpaid employee wage analysis and           1.50   450.00       675.00
          Amuial           review bank account statements to calculate
                           cash-on-hand after associated payment to
                           employees.
7/18/18   Shawn S.         Preparation of employee termination                3.20   450.00     1,440.00
          Amuial           packages, including revisions to spreadsheet
                           analysis of unpaid employee wages,
                           calculation of remaining cash-on-hand after
                           payment to employees, drafting employee
                           termination letters for each employee
                           receiving "catch-up" check, and final
                           assembly of packages for each such employee.
7/19/18   Shawn S.         Update unpaid employee wage analysis and           1.90   450.00       855.00
          Amuial           begin work on employee termination letters
                           for each employee receiving "catch-up" check
                           in second batch of employee payments.
7/20/18   Shawn S.         Further work on revisions to unpaid employee       2.10   450.00       945.00
          Amuial           wage analysis and finalization and
                           transmission of associated employee
                           termination letters with second batch of catch-
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Date       Professional    Description                                       Hours    Rate      Amount
                           up checks.
7/23/18    Shawn S.        Further work on revisions to unpaid employee       2.60   450.00     1,170.00
           Amuial          wage analysis and finalization and
                           transmission of associated employee
                           termination letters with second batch of catch-
                           up checks.
7/31/18    Shawn S.        Draft stipulation to compel Coinbase to            0.90   450.00       405.00
           Amuial          release frozen assets.
9/4/19     Jose A. Casal   Review and revise motion to partially              0.40   890.00       356.00
                           liquidate assets and proposed order.

Total:     B130            Asset Disposition
           A103            Draft/Revise                                      13.40              6,156.00

B130 - Asset Disposition
A104 - Review/Analyze

Date       Professional    Description                                       Hours    Rate      Amount
6/28/18    Jose A. Casal   Review proposed stipulation.                       0.20   850.00       170.00
6/29/18    Jose A. Casal   Review investor liability determinations and       0.80   850.00       680.00
                           claim distribution issues.
7/17/18    Trisha M.       Attend to return of personal property,             1.90   325.00       617.50
           Thompson        including coordination of and correspondence
                           re: return of items to R. Silver and B. Miles,
                           work with IT Support to review the items
                           remaining in H&K's possession, and outreach
                           to Receiver regarding the remaining items.
9/20/18    Shawn S.        Review inventory list of items in Portland         0.30   450.00       135.00
           Amuial          office and compare against requests by
                           Richard Silver for release of his personal
                           property.
11/20/18   Trisha M.       Inventory TBIS Springfield remaining items         0.70   350.00       245.00
           Thompson        in response to request by S. Amuial.
4/15/19    Jose A. Casal   Review order and exchange memoranda on             0.20   890.00       178.00
                           proposed sale of miscellaneous TBIS
                           property.
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Josias N. Dewey as Receiver
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Date      Professional   Description                                       Hours    Rate      Amount
6/5/19    Shawn S.       Review report of traced crypto provided by         0.70   475.00       332.50
          Amuial         Andrew Balthazor and analyze the
                         recoverability of such crypto
6/7/19    Shawn S.       Several discussions in connection with             1.30   475.00       617.50
          Amuial         planning/analyzing plans for liquidation and
                         discuss additional research requirements and
                         filings necessary to effectuate liquidation and
                         creditor payments
6/11/19   Shawn S.       Review and work on plan for asset liquidation      1.30   475.00       617.50
          Amuial         and disposition including reviewing research
                         provided by Andrew Balthazor
6/24/19   Shawn S.       Work with Receiver on review and analysis of       1.30   475.00       617.50
          Amuial         research on liquidation/disposition plans.
6/25/19   Shawn S.       Continue work with Receiver on review and          0.20   475.00        95.00
          Amuial         analysis of research on liquidation/disposition
                         plans.

Total:    B130           Asset Disposition
          A104           Review/Analyze                                     8.90              4,305.50

B130 - Asset Disposition
A105 - Communicate (in firm)

Date      Professional   Description                                       Hours    Rate      Amount
7/3/18    Shawn S.       Correspondences with Allison Rhodes re lease       0.20   450.00        90.00
          Amuial         termination in Oregon.
7/16/18   Trisha M.      Communications with S. Amuial and Receiver         0.10   325.00        32.50
          Thompson       re: TBIS personal items and response to R.
                         Silver demand.
7/16/18   Shawn S.       Correspondences with Trisha Thompson in            0.50   450.00       225.00
          Amuial         Portland regarding requests from Richard
                         Silver and release of personal property;
                         discussions with receiver regarding same.
7/24/18   Trisha M.      Request permission from receiver to return         0.20   325.00        65.00
          Thompson       certain items to TBIS Springfield employees.
8/30/18   Shawn S.       Correspondences with LA office to gather           0.10   450.00        45.00
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Josias N. Dewey as Receiver
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Date       Professional    Description                                      Hours    Rate      Amount
           Amuial          information about any retained property from
                           TBIS Ventura office.
8/31/18    Shawn S.        Coordinate return of laptop to Michael            0.30   450.00       135.00
           Amuial          Stollaire.
9/21/18    Trisha M.       Call with S. Amuial re: return of TBIS            0.10   325.00        32.50
           Thompson        Springfield items.
10/26/18   Trisha M.       Emails with attorneys for Receiver re: TBIS       0.10   350.00        35.00
           Thompson        Springfield property.
11/13/18   Shawn S.        Attention to disposition of electronics,          1.20   475.00       570.00
           Amuial          including review of data provided by Kroll to
                           analyze if the ownership of electronics can be
                           traced and determine whether any hard drives
                           were imaged, and coordinate with Portland
                           office re: same.
4/5/19     Trisha M.       Email to S. Amuial and J. Dewey re: TBIS          0.10   350.00        35.00
           Thompson        property remaining in Portland office.
4/15/19    Trisha M.       Emails with S. Amuial re: storage of TBIS         0.10   350.00        35.00
           Thompson        property; Confer with S. Heskett re: same.
8/21/19    Trisha M.       Emails re: TBIS Springfield property held in      0.10   350.00        35.00
           Thompson        the Portland office.
8/22/19    Trisha M.       Internal emails re: TBIS Springfield property     0.10   350.00        35.00
           Thompson        in the Portland office.
8/26/19    Jose A. Casal   Conference call on propose motions to             0.30   890.00       267.00
                           liquidate assets and compel turnover of
                           cryptocurrency.
9/27/19    Shawn S.        Meeting with receiver to discuss structure of     0.50   475.00       237.50
           Amuial          creditor intake
10/7/19    Trisha M.       Internal emails and conferral re: TBIS            0.20   375.00        75.00
           Thompson        property in Oregon.
10/23/19   Trisha M.       Confer with G. Roth re: transfer of TBIS          0.10   375.00        37.50
           Thompson        Springfield property from Portland to Miami.
12/6/19    Trisha M.       Confer with staff re: shipping TBIS assets to     0.10   375.00        37.50
           Thompson        client.
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Josias N. Dewey as Receiver
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Date       Professional    Description                                         Hours    Rate      Amount
12/10/19   Trisha M.       Confer with A. Rhodes and staff re: shipment         0.10   375.00        37.50
           Thompson        of TBIS Springfield property to Miami office.
12/11/19   Trisha M.       Confer with A. Tuttle re: shipping TBIS              0.10   375.00        37.50
           Thompson        Springfield property to Miami.

Total:     B130            Asset Disposition
           A105            Communicate (in firm)                                4.60              2,099.50

B130 - Asset Disposition
A106 - Communicate (with client)

Date       Professional    Description                                         Hours    Rate      Amount
7/3/18     Jose A. Casal   Review and confer with Receiver on                   0.40   850.00       340.00
                           disposition strategy for cryptocurrency.
9/11/18    Trisha M.       Review communication from creditor and               0.10   325.00        32.50
           Thompson        forward to receiver.
9/19/18    Trisha M.       Email to client re: property from TBIS               0.10   325.00        32.50
           Thompson        Springfield office.
10/2/18    Trisha M.       Email client copy of communications with             0.10   350.00        35.00
           Thompson        BlockMod Enterprises re: payment.
10/24/18   Trisha M.       Email to J. Dewey re: assets remaining in            0.10   350.00        35.00
           Thompson        Holland & Knight's possession.
11/7/18    Trisha M.       Email to client re: response to creditor inquiry.    0.10   350.00        35.00
           Thompson
11/12/18   Trisha M.       Email to client re: BockMod Enterprise               0.10   350.00        35.00
           Thompson        inquiry.
12/6/18    Trisha M.       Email to receiver re: response to alleged            0.10   350.00        35.00
           Thompson        creditor's inquiry.
12/21/18   Trisha M.       Email to client and counsel re: property from        0.10   350.00        35.00
           Thompson        TBIS Springfield office.
8/20/19    Jose A. Casal   Conference call with Receiver on interim             0.30   890.00       267.00
                           liquidation strategy.

Total:     B130            Asset Disposition
           A106            Communicate (with client)                            1.50                882.00
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B130 - Asset Disposition
A107 - Communicate (other outside counsel)

Date       Professional    Description                                        Hours    Rate      Amount
7/16/18    Jose A. Casal   Exchange communications with counsel for            0.40   850.00       340.00
                           M. Stollaire regarding USB storage devices
                           and wages.
8/31/18    Jose A. Casal   Review and exchange memoranda with                  0.40   850.00       340.00
                           Stollaire's counsel regarding return of property
                           and Coinbase stipulation.

Total:     B130            Asset Disposition
           A107            Communicate (other outside counsel)                 0.80                680.00

B130 - Asset Disposition
A108 - Communicate (other external)

Date       Professional    Description                                        Hours    Rate      Amount
7/10/18    Trisha M.       Call with Richard at Kroll re: laptop and           0.10   325.00        32.50
           Thompson        computer return.
7/20/18    Shawn S.        Several correspondences with former                 0.60   450.00       270.00
           Amuial          employees, throughout the day, re payment of
                           unpaid wages.
7/20/18    Trisha M.       Communications with B. Miles.                       0.10   325.00        32.50
           Thompson
8/15/18    Shawn S.        Communication with Well Fargo in effort to          0.40   450.00       180.00
           Amuial          initiate outgoing wires.
9/20/18    Shawn S.        Correspondence with Richard Silver, Trisha          0.30   450.00       135.00
           Amuial          Thompson, and Jose Casal re the return of
                           Richard Silver's laptop
10/26/18   Shawn S.        Correspondences with Dewey, Portland Office         0.40   475.00       190.00
           Amuial          and Kroll re the remaining assets located in
                           Portland and plan for sale/disposition
3/14/19    Jose A. Casal   Review and exchange memoranda on status of          0.30   890.00       267.00
                           Coinbase stipulation.

Total:     B130            Asset Disposition
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           A108            Communicate (other external)                        2.20              1,107.00

B130 - Asset Disposition
A111 - Other

Date       Professional    Description                                        Hours    Rate      Amount
6/29/18    Trisha M.       Coordinate staff inventory of property taken        0.50   325.00       162.50
           Thompson        from TBIS Springfield office and answer
                           questions re: same.
7/12/18    Trisha M.       Coordinate return of personal items to B.           0.80   325.00       260.00
           Thompson        Miles; Draft letter re: same; Communications
                           with Receiver re: remaining personal items.
7/13/18    Shawn S.        Communication with former employees and             1.30   450.00       585.00
           Amuial          banks in effort to send owed wages to former
                           employees.
7/17/18    Shawn S.        Communication with former employees in              1.20   450.00       540.00
           Amuial          effort to send owed wages to former
                           employees.
7/26/18    Trisha M.       Coordinate return of property to TBIS               0.70   325.00       227.50
           Thompson        Springfield via B. Miles; Draft letter re: same;
                           Communications to B. Miles re: same.

Total:     B130            Asset Disposition
           A111            Other                                               4.50              1,775.00

B150 - Meetings of and Communications with Creditors
A104 - Review/Analyze

Date       Professional    Description                                        Hours    Rate      Amount
10/15/18   Shawn S.        Review letter from Addis Mussa alleging his         0.90   475.00       427.50
           Amuial          interactions with TBIS and Michael Stollaire
                           and discuss with Joe Dewey

Total:     B150            Meetings of and Communications with
                           Creditors
           A104            Review/Analyze                                      0.90                427.50

B150 - Meetings of and Communications with Creditors
A105 - Communicate (in firm)
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Date      Professional   Description                                      Hours    Rate      Amount
8/4/18    Trisha M.      Review invoice of BlockMod Enterprise and         0.10   325.00        32.50
          Thompson       forward to client.
8/6/18    Trisha M.      Communications with receiver and Blockmod         0.20   325.00        65.00
          Thompson       Enterprises re: payment of claim.
11/2/18   Shawn S.       Review correspondences from receiver re:          0.20   475.00        95.00
          Amuial         request from CORT Furniture and provide Joe
                         with update of our communications with
                         CORT.

Total:    B150           Meetings of and Communications with
                         Creditors
          A105           Communicate (in firm)                             0.50                192.50

B150 - Meetings of and Communications with Creditors
A108 - Communicate (other external)

Date      Professional   Description                                      Hours    Rate      Amount
7/3/18    Shawn S.       Call and correspondences with Heather             0.60   450.00       270.00
          Amuial         Rooney re the state of TBIS and her reversed
                         paycheck.
7/3/18    Shawn S.       Correspondences with Becky Miles relating to      0.40   450.00       180.00
          Amuial         her reversed paycheck; attain her wire
                         instructions
7/4/18    Shawn S.       Correspondences with Kazem Hadi re reversal       0.20   450.00        90.00
          Amuial         of payroll.
7/24/18   Shawn S.       Correspondences with creditors via email re       0.40   450.00       180.00
          Amuial         claims.
8/9/18    Shawn S.       Correspondences from former employees and         0.40   450.00       180.00
          Amuial         investors.
9/12/18   Trisha M.      Draft email to BlockMod Enterprise in             0.10   325.00        32.50
          Thompson       response to inquiry re: payment.
10/4/18   Shawn S.       Discuss reply to Perkins Coie with Joe Dewey      0.20   475.00        95.00
          Amuial         and send email response to request for
                         payment of legal fees
4/24/19   Shawn S.       Return phone calls to debt collection agencies    0.30   475.00       142.50
          Amuial
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Total:    B150            Meetings of and Communications with
                          Creditors
          A108            Communicate (other external)                       2.60              1,170.00

B190 - Other Contested Matters
A103 - Draft/Revise

Date      Professional    Description                                       Hours    Rate      Amount
7/23/18   Jose A. Casal   Review R. Silver demand and prepare                0.50   850.00       425.00
                          proposed response.
7/30/18   Jose A. Casal   Draft access letter to D. Brown (SEC).             0.20   850.00       170.00
8/8/18    Jose A. Casal   Draft motion to modify freeze order regarding      0.70   850.00       595.00
                          Coinbase account.
8/8/18    Kristina S.     Attention to draft Motion to Modify Asset          1.90   720.00     1,368.00
          Azlin           Freeze Order and begin modifying same to
                          conform to local rule requirements(1.1);
                          circulate email outline initial thoughts and
                          rules relating to same and strategize with J.
                          Casal regarding best procedural mechanism to
                          accomplish desired result (.8).
8/9/18    Jose A. Casal   Review and edit demand letter to R. Silver         0.30   850.00       255.00
                          regarding Coinbase.
8/10/18   Kristina S.     Attention to draft Stipulation to Modify Asset     0.30   720.00       216.00
          Azlin           Freeze Order to allow transfer of funds from
                          Coinbase account.
8/10/18   Shawn S.        Revise stipulation requesting release of funds     0.40   450.00       180.00
          Amuial          from Coinbase; send to Jose Casal for review.
8/14/18   Kristina S.     Update draft Stipulation to Modify Asset           1.10   720.00       792.00
          Azlin           Freeze Order to allow transfer of funds from
                          the Coinbase account and prepare proposed
                          order for same.
8/15/18   Jose A. Casal   Review and revise proposed stipulation and         0.40   850.00       340.00
                          order regarding Coinbase.
8/16/18   Shawn S.        Revise stipulation to release frozen assets per    0.50   450.00       225.00
          Amuial          the SEC's suggested revisions.
8/21/18   Kristina S.     Update draft Stipulation and proposed order to     0.30   720.00       216.00
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Date      Professional    Description                                    Hours    Rate      Amount
          Azlin           Modify Asset Freeze Order to allow transfer
                          of funds from the Coinbase account of Mr.
                          Silver.

Total:    B190            Other Contested Matters
          A103            Draft/Revise                                    6.60              4,782.00

B190 - Other Contested Matters
A104 - Review/Analyze

Date      Professional    Description                                    Hours    Rate      Amount
7/3/18    Trisha M.       Review receipts provided by R. Silver for       0.40   325.00       130.00
          Thompson        alleged personal property.
7/10/18   Jose A. Casal   Review scheduling order and Stollaire answer    0.60   850.00       510.00
                          and exchange related memoranda.
8/1/18    Jose A. Casal   Review and confer on draft stipulation          0.80   850.00       680.00
                          concerning Coinbase accounts.
8/7/18    Jose A. Casal   Review memoranda regarding transfer of          0.40   850.00       340.00
                          Coinbase account and motion/memoranda
                          requirements.
8/16/18   Jose A. Casal   Review proposed modifications to Coinbase       0.30   850.00       255.00
                          account stipulation.
5/10/19   Jose A. Casal   Review and comment of draft stipulation         0.60   890.00       534.00
                          regarding case deadlines and consents to
                          judgment.
5/14/19   Jose A. Casal   Review proposed consent and judgment            0.30   890.00       267.00
                          against TBIS.
5/22/19   Jose A. Casal   Review SEC filing on consent to judgment.       0.20   890.00       178.00
5/24/19   Jose A. Casal   Review judgment against TBIS and transmit       0.20   890.00       178.00
                          to receiver team.

Total:    B190            Other Contested Matters
          A104            Review/Analyze                                  3.80              3,072.00

B190 - Other Contested Matters
A105 - Communicate (in firm)
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Date       Professional    Description                                      Hours    Rate      Amount
8/8/18     Jose A. Casal   Review and confer on turnover and order to        0.60   850.00       510.00
                           show cause strategies regarding Coinbase
                           account.
9/5/18     Shawn S.        Correspondences with Jose Casal and Joe           0.20   450.00        90.00
           Amuial          Dewey re motion re Coinbase and review
                           Stollaire's attorney's response.
4/8/19     Jose A. Casal   Transmit R. Silver stipulation and confer on      0.20   890.00       178.00
                           filing and proposed order.

Total:     B190            Other Contested Matters
           A105            Communicate (in firm)                             1.00                778.00

B190 - Other Contested Matters
A107 - Communicate (other outside counsel)

Date       Professional    Description                                      Hours    Rate      Amount
7/31/18    Jose A. Casal   Telephone conference with A. Tyler (DOJ)          0.20   850.00       170.00
                           regarding Telegram access and prepare status
                           memorandum.
8/15/18    Jose A. Casal   Prepare memorandum to D. Brown (SEC)              0.30   850.00       255.00
                           regarding proposed stipulation and order on
                           Coinbase account.
8/30/18    Jose A. Casal   Review and exchange memoranda with M.             0.50   850.00       425.00
                           Stollaire's client regarding creditor claims,
                           return of property and Coinbase stipulation.
10/8/18    Jose A. Casal   Exchange memoranda with Stollaire's counsel       0.20   890.00       178.00
                           regarding status of Coinbase stipulation.
10/15/18   Jose A. Casal   Review draft 26(f) report and exchange            0.30   890.00       267.00
                           memoranda with SEC counsel.
5/10/19    Jose A. Casal   Telephone conferences with SEC counsel on         0.60   890.00       534.00
                           proposed bifurcated settlement and stipulation
                           regarding case deadlines.

Total:     B190            Other Contested Matters
           A107            Communicate (other outside counsel)               2.10              1,829.00

B190 - Other Contested Matters
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A108 - Communicate (other external)

Date      Professional    Description                                     Hours    Rate      Amount
8/9/18    Jose A. Casal   Telephone conference with R. Silver              0.80   850.00       680.00
                          regarding Coinbase and prepare update
                          memorandum.
8/13/18   Jose A. Casal   Exchange memoranda with R. Silver                0.30   850.00       255.00
                          regarding stipulation and other claims.
8/22/18   Jose A. Casal   Prepare and exchange memoranda with R.           0.60   850.00       510.00
                          Silver and Stollaire's counsel regarding
                          Coinbase stipulation.
8/22/18   Shawn S.        Correspondences with Jose Casal re Michael       0.30   450.00       135.00
          Amuial          Stollaire's request to pay monies owed to
                          CORT furniture.
8/23/18   Jose A. Casal   Exchange memoranda with D. Brown (SEC)           0.20   850.00       170.00
                          and R. Silver regarding Coinbase stipulation.

Total:    B190            Other Contested Matters
          A108            Communicate (other external)                     2.20              1,750.00

B195 - Non-Working Travel
A111 - Other

Date      Professional    Description                                     Hours    Rate      Amount
6/28/18   Trisha M.       Travel to and from Springfield, Oregon for       4.50   162.50       731.25
          Thompson        return of personal property to former
                          employees and subsequent delivery of
                          unreturned property to H&K Portland office.

Total:    B195            Non-Working Travel
          A111            Other                                            4.50                731.25

B210 - Business Operations
A101 - Plan and Prepare for

Date      Professional    Description                                     Hours    Rate      Amount
7/9/18    Shawn S.        Work with Joe Dewey to create template           0.50   450.00       225.00
          Amuial          consolidated spreadsheet for all former
                          employee requests.
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Date       Professional   Description                                     Hours    Rate      Amount
7/12/18    Shawn S.       Financial analysis of monies owed to former      3.70   450.00     1,665.00
           Amuial         employees, including consolidation of data in
                          spreadsheet form and coordination with
                          Receiver re: same.
12/10/18   Shawn S.       Work on updating receivership website and        0.20   475.00        95.00
           Amuial         pulling updated docket to post on website
12/11/18   Shawn S.       Work with firm paralegal and IT to pull          1.10   475.00       522.50
           Amuial         docket, download pleadings and load onto
                          receivership website
12/14/18   Shawn S.       Finalize update to receivership website to       0.20   475.00        95.00
           Amuial         include latest pleadings

Total:     B210           Business Operations
           A101           Plan and Prepare for                             5.70              2,602.50

B210 - Business Operations
A102 - Research

Date       Professional   Description                                     Hours    Rate      Amount
12/3/18    Shawn S.       Work with H&K team to identify accounting        1.00   475.00       475.00
           Amuial         team for year end income and employee
                          accounting, and coordinate conference call
                          with firm

Total:     B210           Business Operations
           A102           Research                                         1.00                475.00

B210 - Business Operations
A103 - Draft/Revise

Date       Professional   Description                                     Hours    Rate      Amount
7/5/18     Shawn S.       Draft and revise employee termination notice.    0.60   450.00       270.00
           Amuial
7/6/18     Shawn S.       Draft and revise employee termination notice.    1.20   450.00       540.00
           Amuial
7/11/18    Shawn S.       Work on revisions to termination notice with     0.60   450.00       270.00
           Amuial         Joe Dewey per John Haney's California-
                          specific labor and employment comments.
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Date       Professional   Description                                      Hours    Rate      Amount
5/1/19     Shawn S.       Prepare payment of Kroll invoice and discuss      0.50   475.00       237.50
           Amuial         with receiver
12/13/19   Shawn S.       Draft update to be posted on receivership         0.40   555.00       222.00
           Amuial         website and update the website
12/18/19   Shawn S.       Work with IT to finalize updated posting on       0.60   555.00       333.00
           Amuial         receivership website and discussion with
                          Andrew Balthazor re next steps for HitBTC
                          action

Total:     B210           Business Operations
           A103           Draft/Revise                                      3.90              1,872.50

B210 - Business Operations
A104 - Review/Analyze

Date       Professional   Description                                      Hours    Rate      Amount
1/17/19    Shawn S.       Review form 56's and POAs sent by                 0.50   475.00       237.50
           Amuial         accounting firm for Receiver's signature
1/22/19    Shawn S.       Compile signed form 56, scan and send to          0.30   475.00       142.50
           Amuial         accountants
2/12/19    Shawn S.       Re-review invoices from accountant's office       0.30   475.00       142.50
           Amuial         and discuss payment, via email, with Jose
                          Casal
4/29/19    Shawn S.       Correspondences to and from accounting firm       0.30   475.00       142.50
           Amuial
5/21/19    Shawn S.       Re-calculate value of business (crypto) assets    0.40   475.00       190.00
           Amuial         owned by receivership and discuss with
                          internal team

Total:     B210           Business Operations
           A104           Review/Analyze                                    1.80                855.00

B210 - Business Operations
A105 - Communicate (in firm)

Date       Professional   Description                                      Hours    Rate      Amount
7/6/18     Shawn S.       Correspondences with John Haney re local          0.30   450.00       135.00
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Date      Professional   Description                                       Hours    Rate      Amount
          Amuial         employment law issues.
1/15/19   Shawn S.       Correspondences with Dede Hayes re updated         0.50   475.00       237.50
          Amuial         docket in effort to update the receivership
                         webpage and review updated docket
3/12/19   Shawn S.       Work with IT to get receivership website back      0.30   475.00       142.50
          Amuial         online
3/22/19   Shawn S.       Continue work with IT to restore receivership      0.30   475.00       142.50
          Amuial         website.
4/1/19    Shawn S.       Continue follow up with IT re website outage       0.10   475.00        47.50
          Amuial
4/12/19   Shawn S.       Further attention to technical issues              0.20   475.00        95.00
          Amuial         surrounding Receiver website.
4/15/19   Shawn S.       Work with IT re receivership website related       0.20   475.00        95.00
          Amuial         issues
8/30/19   Shawn S.       Correspondences with IT re receivership            0.20   475.00        95.00
          Amuial         website upkeep

Total:    B210           Business Operations
          A105           Communicate (in firm)                              2.10                990.00

B210 - Business Operations
A108 - Communicate (other external)

Date      Professional   Description                                       Hours    Rate      Amount
7/6/18    Shawn S.       Call and correspondences with Wells Fargo re       0.30   450.00       135.00
          Amuial         outgoing wires.
7/9/18    Shawn S.       Correspondences with former employees as           1.40   450.00       630.00
          Amuial         well as Wells Fargo in efforts to send wires
                         for monies owed on reversed salary payments.
7/10/18   Shawn S.       Correspondences with former employees as           1.10   450.00       495.00
          Amuial         well as Well Fargo in efforts to send wires for
                         monies owed on reversed salary payments.
1/11/19   Shawn S.       Reach out to Gemini trading platform to re-        0.20   475.00        95.00
          Amuial         activate recertification link
1/14/19   Shawn S.       Attend to trading re-certification, inclding       1.50   475.00       712.50
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Date      Professional   Description                                       Hours    Rate      Amount
          Amuial         preparation and submission via re-certification
                         portal and related communications with
                         Gemini Trading.
1/15/19   Shawn S.       Correspondences from Gemini                        0.20   475.00        95.00
          Amuial
3/22/19   Shawn S.       Correspondence with internal team and              0.50   475.00       237.50
          Amuial         Metropolitan Police Department re
                         receivership
3/28/19   Shawn S.       Correspondences with accountants re W2 and         0.50   475.00       237.50
          Amuial         work with IT to restore receivership website
                         and review correspondences to receivership
4/3/19    Shawn S.       Call and correspondence from KY state              0.30   475.00       142.50
          Amuial         auditor re unemployment requests
4/4/19    Shawn S.       Follow-up re website issues for receivership       0.10   475.00        47.50
          Amuial         page

Total:    B210           Business Operations
          A108           Communicate (other external)                       6.10              2,827.50

B210 - Business Operations
A110 - Manage Data/Files

Date      Professional   Description                                       Hours    Rate      Amount
1/7/19    Shawn S.       Work on recertification for Gemini trading         0.50   475.00       237.50
          Amuial         account
4/11/19   Shawn S.       Work with IT to get receivership website back      0.20   475.00        95.00
          Amuial         up and running and update with latest docket
                         activity
5/31/19   Shawn S.       Work with IT to maintain and update                0.30   475.00       142.50
          Amuial         receivership website to include latest court
                         filings
9/18/19   Shawn S.       Pull updated docket and work with IT to            0.50   475.00       237.50
          Amuial         update receivership webpage to include latest
                         filings

Total:    B210           Business Operations
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          A110           Manage Data/Files                                  1.50                712.50

B220 - Employee Benefits / Pensions
A103 - Draft/Revise

Date      Professional   Description                                       Hours    Rate      Amount
8/1/18    Shawn S.       Draft termination letters to employees and         1.70   450.00       765.00
          Amuial         reconcile pay to be accompanied with
                         letters(1.0). Review employment contracts(.7).
8/7/18    Shawn S.       Review all correspondences and requests from       3.80   450.00     1,710.00
          Amuial         former employees requesting additional sums
                         and consolidate requests into spreadsheet(2.5);
                         track prior issued checks and wire transfers
                         and consolidate into spreadsheet and provide
                         updated balances and requests to Receiver
                         (1.3).

Total:    B220           Employee Benefits / Pensions
          A103           Draft/Revise                                       5.50              2,475.00

B220 - Employee Benefits / Pensions
A104 - Review/Analyze

Date      Professional   Description                                       Hours    Rate      Amount
8/2/18    Shawn S.       Review correspondences from former                 2.40   450.00     1,080.00
          Amuial         employees throughout life of receivership to
                         confirm amounts of unpaid wages requested
                         (1.5); work with Receiver on associated
                         spreadsheet reconciliation (.9).
8/3/18    Shawn S.       Continue to review and analyze                     2.10   450.00       945.00
          Amuial         correspondences from former employees
                         throughout life of receivership to confirm
                         amounts of unpaid wages requested.
8/14/18   Shawn S.       Reconcile all sent out payments to employees       1.20   450.00       540.00
          Amuial         and all committed tax withholding payments.

Total:    B220           Employee Benefits / Pensions
          A104           Review/Analyze                                     5.70              2,565.00

B220 - Employee Benefits / Pensions
A108 - Communicate (other external)
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Date       Professional   Description                                       Hours    Rate      Amount
8/8/18     Shawn S.       Correspondences and to and from former             0.30   450.00       135.00
           Amuial         employees re unpaid wages and continue to
                          update master spreadsheet of expenses
                          accordingly.
8/13/18    Shawn S.       Correspondences with former employees and          0.40   450.00       180.00
           Amuial         update termination letters and final paychecks.
8/15/18    Shawn S.       Several correspondences with former                0.60   450.00       270.00
           Amuial         employees re employment, pay and
                          termination.
8/16/18    Shawn S.       Continued correspondence with former               0.50   450.00       225.00
           Amuial         employees regarding unpaid wages.
4/18/19    Shawn S.       Correspondences with accountant and KY             0.20   475.00        95.00
           Amuial         unemployment office re: unemployment
                          benefits.
4/22/19    Shawn S.       Correspondences with CPA and KY                    0.20   475.00        95.00
           Amuial         unemployment department in connection with
                          unemployment benefits request
8/1/19     Shawn S.       Call with former employee re payment and           0.30   475.00       142.50
           Amuial         intake provided information
10/17/19   Shawn S.       Correspondences with former TBIS employee          0.10   555.00        55.50
           Amuial

Total:     B220           Employee Benefits / Pensions
           A108           Communicate (other external)                       2.60              1,198.00

B240 - Tax Issues
A102 - Research

Date       Professional   Description                                       Hours    Rate      Amount
8/27/18    Shawn S.       Research issues regarding tax withholding for      0.70   450.00       315.00
           Amuial         employees whom have not provided a W-4.
8/16/19    Shawn S.       Work on obtaining tax information for former       0.50   475.00       237.50
           Amuial         TBIS employee.
12/13/19   Shawn S.       Review tax subordination directive provided        0.30   555.00       166.50
           Amuial         by SEC.
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Total:     B240           Tax Issues
           A102           Research                                            1.50                719.00

B240 - Tax Issues
A104 - Review/Analyze

Date       Professional   Description                                        Hours    Rate      Amount
6/27/18    Kevin E.       Confer with C. Pentis re tax transcripts; confer    0.30   850.00       255.00
           Packman        with client re forensic accountants.
8/28/18    Shawn S.       Calculate federal withholding tax amount for        0.20   450.00        90.00
           Amuial         two employees.
10/24/18   Kevin E.       Meet with client to discuss tax filings and         1.00   925.00       925.00
           Packman        related issues.
2/5/19     Shawn S.       Log through hard drive archives to attain tax       2.50   475.00     1,187.50
           Amuial         informatoin needed by accoutants and discuss
                          with Joe Dewey
2/6/19     Shawn S.       Continue working on tax matters in                  2.50   475.00     1,187.50
           Amuial         conjunction with Receiver and CPA Dimitriy
                          Kostav in efforts to finalize tax matters for
                          2018.
2/7/19     Shawn S.       Continue working with Receiver to review            3.20   475.00     1,520.00
           Amuial         content in company hard drives in connection
                          with tax matters.
3/1/19     Shawn S.       Review/analyze information recovered by e-          2.50   475.00     1,187.50
           Amuial         discovery team to obtain financial information
                          about company in connection with taxes.

Total:     B240           Tax Issues
           A104           Review/Analyze                                     12.20              6,352.50

B240 - Tax Issues
A105 - Communicate (in firm)

Date       Professional   Description                                        Hours    Rate      Amount
3/12/19    Shawn S.       Further outreach to firm contact who can            0.10   475.00        47.50
           Amuial         connect receivership with Intuit.
12/28/19   Trisha M.      Review DOR form sent by R. Silver and               0.10   375.00        37.50
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Date      Professional   Description                                      Hours    Rate      Amount
          Thompson       forward to H&K team.

Total:    B240           Tax Issues
          A105           Communicate (in firm)                             0.20                 85.00

B240 - Tax Issues
A108 - Communicate (other external)

Date      Professional   Description                                      Hours    Rate      Amount
6/26/18   Charles J.     Telephone conferences with IRS and H&K            1.40   430.00       602.00
          Pentis         team regarding tax transcripts and tax issues.
12/4/18   Shawn S.       Call with potential accountant for matter to      0.80   475.00       380.00
          Amuial         discuss case and scope of work, and discuss
                         thereafter with Joe Dewey
2/14/19   Shawn S.       Several correspondences with former TBIS          0.50   475.00       237.50
          Amuial         employees re W2 status
2/15/19   Shawn S.       Several calls, both internal and external, re     1.20   475.00       570.00
          Amuial         case status and pending matters, including
                         discussion of tax matters with Joe Dewey.
2/18/19   Shawn S.       Call and correspondence with former TBIS          0.50   475.00       237.50
          Amuial         accountant
3/20/19   Shawn S.       Several communications throughout day with        0.80   475.00       380.00
          Amuial         team and accountants to push forward
                         issuance of W2s.
3/21/19   Shawn S.       Continued correspondences and review of           0.80   475.00       380.00
          Amuial         payroll info with accountants to produce W2s
3/26/19   Shawn S.       Continued efforts around reconciling              0.50   475.00       237.50
          Amuial         information for tax purposes
3/27/19   Shawn S.       Continued efforts around reconciling              0.30   475.00       142.50
          Amuial         information for tax purposes
4/2/19    Shawn S.       Correspondences re W2 issues                      0.30   475.00       142.50
          Amuial
4/4/19    Shawn S.       Correspondences re W2 issues                      0.20   475.00        95.00
          Amuial
4/5/19    Shawn S.       Correspondences with accountants re W2's          0.10   475.00        47.50
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Date      Professional     Description                                      Hours    Rate      Amount
          Amuial
4/9/19    Shawn S.         Several calls and correspondences with            0.30   475.00       142.50
          Amuial           accounting firm
4/12/19   Shawn S.         Continued correspondences with accounting         0.60   475.00       285.00
          Amuial           firm and receiver and review IRS transcripts
                           in anticipation of sending out W2 to former
                           employees
4/15/19   Shawn S.         Calls and correspondences from former TBIS        0.30   475.00       142.50
          Amuial           employees and send W2 to requesting
                           employee

Total:    B240             Tax Issues
          A108             Communicate (other external)                      8.60              4,022.00

B240 - Tax Issues
A110 - Manage Data/Files

Date      Professional     Description                                      Hours    Rate      Amount
2/4/19    Shawn S.         Calls and correspondences with accountants        1.90   475.00       902.50
          Amuial           and aggregate/review internal information
                           pertaining to taxes in efforts to prepare W2's
                           for employees
2/8/19    Shawn S.         Continue working with internal e-discovery        0.70   475.00       332.50
          Amuial           team to review content of hard drive re tax
                           information
4/3/19    Shawn S.         Review W2 provided by accountants and             1.00   475.00       475.00
          Amuial           several follow up calls and emails both
                           internally and externally on how to manage
                           tax bills

Total:    B240             Tax Issues
          A110             Manage Data/Files                                 3.60              1,710.00

B310 - Claims Administration and Objections
A101 - Plan and Prepare for

Date      Professional     Description                                      Hours    Rate      Amount
8/30/18   Shawn S.         Meeting with Joe Dewey to discuss plan for        1.00   450.00       450.00
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Date      Professional   Description                                       Hours    Rate      Amount
          Amuial         categorizing classes of creditors and analyzing
                         how to allocated prorata rights to assets
                         amongst each class.

Total:    B310           Claims Administration and Objections
          A101           Plan and Prepare for                               1.00                450.00

B310 - Claims Administration and Objections
A102 - Research

Date      Professional   Description                                       Hours    Rate      Amount
9/26/18   Shawn S.       Research Securities Act and analyze whom           0.70   450.00       315.00
          Amuial         likely claimants are under the act, as such
                         pertain to T-BAR purchasers, and how
                         damages are calculated with respect to such
                         claimants.

Total:    B310           Claims Administration and Objections
          A102           Research                                           0.70                315.00

B310 - Claims Administration and Objections
A104 - Review/Analyze

Date      Professional   Description                                       Hours    Rate      Amount
7/24/18   Shawn S.       Work with Melody Grafals to analyze intake         0.30   450.00       135.00
          Amuial         of creditor claims and requests; revise and
                         modify spreadsheet.
8/6/18    Shawn S.       Review compiled investor intake spreadsheet        2.00   450.00       900.00
          Amuial         and reconfigure and format data to help
                         analyze total invested monies and location of
                         investors.
8/10/18   Shawn S.       Review revised spreadsheet sent by Joe             0.60   450.00       270.00
          Amuial         Dewey contemplating the next disbursements
                         by receivership.

Total:    B310           Claims Administration and Objections
          A104           Review/Analyze                                     2.90              1,305.00

B310 - Claims Administration and Objections
A105 - Communicate (in firm)
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Date       Professional    Description                                   Hours        Rate     Amount
6/9/19     Jose A. Casal   Review and comment on claims processing         0.30   890.00         267.00
                           and priority issues.

Total:     B310            Claims Administration and Objections
           A105            Communicate (in firm)                           0.30                  267.00

B310 - Claims Administration and Objections
A106 - Communicate (with client)

Date       Professional    Description                                   Hours        Rate     Amount
11/20/18   Jose A. Casal   Review and confer with Receiver on proposed     0.30   890.00         267.00
                           interim distribution.

Total:     B310            Claims Administration and Objections
           A106            Communicate (with client)                       0.30                  267.00


                              LESS COURTESY DISCOUNT:                             $          -12,984.13
                              TOTAL FEES FOR PROFESSIONAL SERVICES:               $          116,857.12

Professional Summary through December 31, 2019:


Professional               Title                                         Hours        Rate     Amount
Jose A. Casal              Partner                                        9.60    890.00       8,544.00
Jose A. Casal              Partner                                       22.60    850.00      19,210.00
Kevin E. Packman           Partner                                        1.00    925.00         925.00
Kevin E. Packman           Partner                                        0.30    850.00         255.00
Kristina S. Azlin          Partner                                       10.40    720.00       7,488.00
Shawn S. Amuial            Associate                                     12.70    555.00       7,048.50
Shawn S. Amuial            Associate                                     84.70    475.00      40,232.50
Shawn S. Amuial            Associate                                     72.90    450.00      32,805.00
Trisha M. Thompson         Associate                                      0.70    375.00         262.50
Trisha M. Thompson         Associate                                      2.10    350.00         735.00
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Professional                 Title                                    Hours    Rate      Amount
Trisha M. Thompson           Associate                                16.20   325.00     5,265.00
Trisha M. Thompson           Associate                                 4.50   162.50       731.25
Adriano M. Ferreira          Paralegal                                 9.00   215.00     1,935.00
Anh Huynh                    Paralegal                                 3.00   215.00       645.00
Charles J. Pentis            Paralegal                                 1.40   430.00       602.00
Delia M. Hayes               Paralegal                                 0.50   285.00       142.50
Delia M. Hayes               Paralegal                                 3.60   275.00       990.00
Shannan E. Whalen            Paralegal                                 0.20   300.00        60.00
Sharon K. O'Dowd             Paralegal                                 6.90   275.00     1,897.50
Jacqueline Norton            Special Assistant                         0.30   225.00        67.50
                                                                                       129,841.25

                                    TASK SUMMARY CURRENT INVOICE


FEE TASK SUMMARY

Code                  Description                                             Hours      Amount
B110                  Case Administration                                      44.20    21,930.50
B120                  Asset Analysis and Recovery                              77.90    38,524.00
B130                  Asset Disposition                                        49.10    22,589.00
B150                  Meetings of and Communications with Creditors             4.00     1,790.00
B190                  Other Contested Matters                                  15.70    12,211.00
B195                  Non-Working Travel                                        4.50       731.25
B210                  Business Operations                                      22.10    10,335.00
B220                  Employee Benefits / Pensions                             13.80     6,238.00
B240                  Tax Issues                                               26.10    12,888.50
B310                  Claims Administration and Objections                      5.20     2,604.00
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Code               Description                                                    Hours       Amount

TOTAL:                                                                            262.60   129,841.25


Reimbursable costs through December 31, 2019:


Date        Description                                                            Amount
6/21/18     VENDOR: Jose A. Casal INVOICE#: 2645468907240903 DATE:                   19.00
            7/23/2018 Jose A Casal; Miscellaneous; For Motion Pro Hac Vice;
            06/21/2018

6/23/18     VENDOR: Legal Support Network LLC INVOICE#: 975 DATE:                     45.25
            6/23/2018 Securities Exchange/Filing. re: Securities Exchange.

6/25/18     VENDOR: Clerk of the Court INVOICE#: 205802 DATE: 6/25/2018               19.00
            Obtain certificate of good standing for motion for pro hac vice

6/26/18     VENDOR: Clerk of the Court INVOICE#: 205801 DATE: 6/26/2018               19.00
            Obtain a certificate of good standing for motion pro hac vice

6/30/18     VENDOR: Legal Support Network LLC INVOICE#: 1527 DATE:                    22.75
            6/30/2018 ST Shot filing

7/9/18      VENDOR: Kristina S. Azlin INVOICE#: 2620623207160904 DATE:               400.00
            7/11/2018 Kristina Starr Azlin; Court Fees; Application of Non-
            resident Attorney Mitchell E. Herr to Appear Pro Hac Vice on behalf
            of receiver Josias Dewey; 07/09/2018

7/10/18     Federal Express - Invoice # 6-242-93097 - Becky Miles - 07/10/18          34.11

7/12/18     Federal Express - Invoice # 6-251-12759 - Becky Miles - 07/12/18          25.21

7/14/18     VENDOR: Legal Support Network LLC INVOICE#: 2338 DATE:                    30.75
            7/14/2018 E-file CC filing re: Application Pro Havc Order

7/16/18     UPS-Tracking number:1Z4A065R1397976311-Date:2018-07-16-                   15.73
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Date        Description                                                            Amount
            Receiver Name:Andrew B. Holmes, Es-Receiver Company
            Name:Holmes, Taylor, Scott & Jones LLP-Service Description:Next
            Day Air Saver Commercial

7/16/18     Cancellation of: VENDOR: Clerk of the Court INVOICE#: 205801            -19.00
            DATE: 6/26/2018 Obtain a certificate of good standing for motion
            pro hac vice

7/17/18     Cancellation of: VENDOR: Clerk of the Court INVOICE#: 205802            -19.00
            DATE: 6/25/2018 Obtain certificate of good standing for motion for
            pro hac vice

7/17/18     UPS-Tracking number:1Z97057X4298865860-Date:2018-07-17-                  20.54
            Receiver Name:-Receiver Company Name:Becky Miles-Service
            Description:Ground Residential

7/17/18     VENDOR: Kristina S. Azlin INVOICE#: 2636450307200907 DATE:              400.00
            7/18/2018 Kristina Starr Azlin; Court Fees; Filing Fees for Jose
            Casal's Pro Hac Vice Application .; 07/17/2018

7/19/18     Federal Express - Invoice # 6-258-29819 - Martha Breed - 07/19/18        19.77

7/19/18     Federal Express - Invoice # 6-258-29819 - Daniel Bereczki - 07/19/18     19.77

7/19/18     Federal Express - Invoice # 6-258-29819 - David Guck - 07/19/18          19.77

7/19/18     Federal Express - Invoice # 6-258-29819 - Ying Liu - 07/19/18            22.01

7/19/18     Federal Express - Invoice # 6-258-29819 - Leyou Hong - 07/19/18          22.01

7/19/18     Federal Express - Invoice # 6-258-29819 - Kazem Hadi - 07/19/18          17.56

7/19/18     Federal Express - Invoice # 6-258-29819 - Bryan Levi - 07/19/18          19.55

7/19/18     Federal Express - Invoice # 6-258-29819 - Aaron Lefkowlitz -             19.77
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Date        Description                                                          Amount
            07/19/18

7/19/18     Federal Express - Invoice # 1-720-93559 - Tina Mitchell - 07/19/18    124.16

7/20/18     Federal Express - Invoice # 6-258-29819 - Nathan Ross - 07/20/18       22.01

7/20/18     Federal Express - Invoice # 6-258-29819 - Deepanshu Tyagi -            22.01
            07/20/18

7/20/18     Federal Express - Invoice # 6-258-29819 - Dallin Christensen -         22.01
            07/20/18

7/20/18     Federal Express - Invoice # 6-258-29819 - Jack Dawson - 07/20/18       22.01

7/20/18     Federal Express - Invoice # 6-258-29819 - Staci Dawson - 07/20/18      22.01

7/21/18     VENDOR: Legal Support Network LLC INVOICE#: 2907 DATE:                 55.00
            7/21/2018 SD CC Court Srvc Appl order re: Securities v Titanium

7/26/18     UPS-Tracking number:1Z97057X4294353036-Date:2018-07-26-                23.52
            Receiver Name:-Receiver Company Name:Becky Miles-Service
            Description:Ground Residential

7/26/18     UPS-Tracking number:1Z97057X4294083846-Date:2018-07-26-                19.44
            Receiver Name:-Receiver Company Name:Becky Miles-Service
            Description:Ground Residential

7/26/18     UPS-Tracking number:1Z97057X4291200625-Date:2018-07-26-                21.34
            Receiver Name:-Receiver Company Name:Becky Miles-Service
            Description:Ground Residential

7/27/18     UPS-Tracking number:1Z4A065R0198589037-Date:2018-07-27-                14.37
            Receiver Name:-Receiver Company Name:Dallin Christensen-Service
            Description:Next Day Air Residential
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Date        Description                                                            Amount
8/14/18     Federal Express - Invoice # 6-278-52421 - Spencer Howell - 08/14/18      23.79

8/14/18     Federal Express - Invoice # 6-278-52421 - Alex Koch - 08/14/18           21.96

8/14/18     Federal Express - Invoice # 6-278-52421 - Ying Liu - 08/14/18            21.96

8/14/18     Federal Express - Invoice # 6-278-52421 - Leyou Hong - 08/14/18          21.96

8/17/18     Federal Express - Invoice 6-286-38271- Deepanshu Tyagi -                 21.74
            08/17/2018

8/28/18     Federal Express - Invoice # 6-293-37768 - Becky Miles - 08/28/18         26.45

8/28/18     Federal Express - Invoice # 6-293-37768 - Yong Ha Jeong - 08/28/18       21.74

9/13/18     First Legal Network,LLC - Invoice # 10171149 - Holmes, Taylor,           15.81
            Scott & Jones LLP - 09/13/18

3/3/19      VENDOR: Legal Support Network LLC INVOICE#: 18340 DATE:                  90.75
            3/3/2019 E-file CC filing

3/24/19     VENDOR: Legal Support Network LLC INVOICE#: 19725 DATE:                  56.00
            3/24/2019 SD CC Court Srvc

4/7/19      VENDOR: Legal Support Network LLC INVOICE#: 20636 DATE:                  55.00
            4/7/2019 SD CC Court srvc.

4/14/19     VENDOR: Legal Support Network LLC INVOICE#: 20978 DATE:                  57.00
            4/14/2019 Court Service re: Dewey, Josias N. as Receiver for Tataniu


            Online Research                                                         118.20
            Westlaw                                                                4,470.70
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Date        Description                                            Amount

             TOTAL REIMBURSABLE COSTS:                     $       6,564.49

             FEES FOR PROFESSIONAL SERVICES:                   $   129,841.25
             LESS COURTESY DISCOUNT:                           $   -12,984.13
             TOTAL PROFESSIONAL FEES:                          $   116,857.12

             REIMBURSABLE COSTS:                               $     6,564.49

             TOTAL DUE THIS INVOICE:       (U.S. Dollar)       $   123,421.61
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                                                 EXHIBIT E

                                     SUMMARY OF EXPENSES


           I.      Summary of Charges

           The standard rate charged for photocopying is $.15 per page. The standard

rate charged for outgoing facsimile transmissions is $1.00 per page. NO CHARGES

ARE INCURRED FOR INCOMING FACSIMILE TRANSMISSIONS.

           II.     Summary of Expenses


                               Expense Category               Cost

                             Accounting Services2             $10,170.00
                                    Filing Fees                $1,231.50
                                 Online Research               $4,588.90
                               Overnight Delivery                $744.09
                                     TOTAL:                   $16,734.49


See attached backup for additional detail on expenses incurred by H&K, and
Exhibit E-1 for further detail on Accounting Services provided by Grobstein
Teeple LLP.




2
    See attached invoice from Grobstein Teeple LLP.
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                                     Expense Detail for Second Interim Fee Period
                                                      #:1993

Date          Timekeeper Name        Category                    Amount          Detail

                                                                                VENDOR: Jose A. Casal INVOICE#: 2645468907240903 DATE: 7/23/2018
6/21/2018     Casal, Jose A.         Filing Fees                        $19.00 Jose A Casal; Miscellaneous; For Motion Pro Hac Vice; 06/21/2018
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 975 DATE: 6/23/2018
6/23/2018     Perez, Rosanna         Filing Fees                        $45.25 Securities Exchange/Filing. re: Securities Exchange.
                                                                                VENDOR: Clerk of the Court INVOICE#: 205802 DATE: 6/25/2018
6/25/2018     Casal, Jose A.         Filing Fees                        $19.00 Obtain certificate of good standing for motion for pro hac vice
                                                                                VENDOR: Clerk of the Court INVOICE#: 205801 DATE: 6/26/2018
6/26/2018     Casal, Jose A.         Filing Fees                        $19.00 Obtain a certificate of good standing for motion pro hac vice
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 1527 DATE: 6/30/2018
6/30/2018     Perez, Rosanna         Filing Fees                        $22.75 ST Shot filing
                                                                                VENDOR: Kristina S. Azlin INVOICE#: 2620623207160904 DATE:
                                                                                7/11/2018 Kristina Starr Azlin; Court Fees; Application of Non‐resident
                                                                                Attorney Mitchell E. Herr to Appear Pro Hac Vice on behalf of receiver
7/9/2018      Azlin, Kristina S.     Filing Fees                       $400.00 Josias Dewey; 07/09/2018
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 2338 DATE: 7/14/2018
7/14/2018     Mendez, Ericka S.      Filing Fees                        $30.75 E‐file CC filing re: Application Pro Havc Order
                                                                                Cancellation of: VENDOR: Clerk of the Court INVOICE#: 205801 DATE:
                                                                                6/26/2018 Obtain a certificate of good standing for motion pro hac
7/16/2018     Casal, Jose A.         Filing Fees                       ($19.00) vice
                                                                                VENDOR: Kristina S. Azlin INVOICE#: 2636450307200907 DATE:
                                                                                7/18/2018 Kristina Starr Azlin; Court Fees; Filing Fees for Jose Casal's
7/17/2018     Azlin, Kristina S.     Filing Fees                       $400.00 Pro Hac Vice Application .; 07/17/2018
                                                                                Cancellation of: VENDOR: Clerk of the Court INVOICE#: 205802 DATE:
                                                                                6/25/2018 Obtain certificate of good standing for motion for pro hac
7/17/2018     Casal, Jose A.         Filing Fees                       ($19.00) vice
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 2907 DATE: 7/21/2018
7/21/2018     Mendez, Ericka S.      Filing Fees                        $55.00 SD CC Court Srvc Appl order re: Securities v Titanium
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 18340 DATE: 3/3/2019
3/3/2019      Perez, Rosanna         Filing Fees                        $90.75 E‐file CC filing
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 19725 DATE:
3/24/2019     Mendez, Ericka S.      Filing Fees                        $56.00 3/24/2019 SD CC Court Srvc
                                                                                VENDOR: Legal Support Network LLC INVOICE#: 20636 DATE: 4/7/2019
4/7/2019      Mendez, Ericka S.      Filing Fees                        $55.00 SD CC Court srvc.

                                                                                 VENDOR: Legal Support Network LLC INVOICE#: 20978 DATE:
4/14/2019     Mendez, Ericka S.      Filing Fees                        $57.00   4/14/2019 Court Service re: Dewey, Josias N. as Receiver for Tataniu
                                     Filing Fees Total               $1,231.50
7/10/2018     Azlin, Kristina S.     Online Research                     $0.60   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
7/10/2018     Hayes, Delia M.        Online Research                    $54.90   Pacer‐‐falling4star Delia Hayes (4676137)
7/11/2018     Hayes, Delia M.        Online Research                    $33.40   Pacer‐‐falling4star Delia Hayes (4676137)
7/18/2018     Azlin, Kristina S.     Online Research                     $0.90   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
9/18/2018     Whalen, Shannan E.     Online Research                     $6.50   Pacer‐‐shanpacer Shannan Whalen (4667155)
10/1/2018     Azlin, Kristina S.     Online Research                   $414.50   Westlaw ‐ AZLIN,KRISTINA ‐ 10/01/2018 ‐
10/15/2018    Balthazor, Andrew W.   Online Research                   $333.90   Westlaw ‐ BALTHAZOR,ANDREW ‐ 10/15/2018 ‐
10/16/2018    Azlin, Kristina S.     Online Research                   $391.00   Westlaw ‐ AZLIN,KRISTINA ‐ 10/16/2018 ‐
10/16/2018    Balthazor, Andrew W.   Online Research                     $0.50   Westlaw ‐ BALTHAZOR,ANDREW ‐ 10/16/2018 ‐
10/22/2018    Azlin, Kristina S.     Online Research                     $0.60   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
12/11/2018    Hayes, Delia M.        Online Research                     $0.20   Pacer‐‐falling4star Delia Hayes (4676137)
12/11/2018    Hayes, Delia M.        Online Research                     $0.60   Pacer‐‐falling4star Delia Hayes (4676137)
1/15/2019     Hayes, Delia M.        Online Research                     $0.60   Pacer‐‐falling4star Delia Hayes (4676137)
2/10/2019     Azlin, Kristina S.     Online Research                    $97.59   Westlaw ‐ AZLIN,KRISTINA ‐ 02/10/2019 ‐
2/11/2019     Azlin, Kristina S.     Online Research                   $573.59   Westlaw ‐ AZLIN,KRISTINA ‐ 02/11/2019 ‐
2/12/2019     Hayes, Delia M.        Online Research                     $1.70   Pacer‐‐falling4star Delia Hayes (4676137)
3/18/2019     Azlin, Kristina S.     Online Research                     $0.40   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
4/3/2019      Azlin, Kristina S.     Online Research                     $0.60   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
4/4/2019      Hayes, Delia M.        Online Research                     $8.90   Pacer‐‐falling4star Delia Hayes (4676137)
4/9/2019      Azlin, Kristina S.     Online Research                     $1.90   Pacer‐‐kazlin235238 Kristina Azlin (4596067)
5/15/2019     Hayes, Delia M.        Online Research                     $4.80   Pacer‐‐falling4star Delia Hayes (4676137)
6/8/2019      Balthazor, Andrew W.   Online Research                   $294.33   Westlaw ‐ BALTHAZOR,ANDREW ‐ 06/08/2019 ‐
6/12/2019     Alvarez, Nicole S.     Online Research                   $436.76   Westlaw ‐ ALVAREZ,NICOLE ‐ 06/12/2019 ‐
6/18/2019     Alvarez, Nicole S.     Online Research                   $523.35   Westlaw ‐ ALVAREZ,NICOLE ‐ 06/18/2019 ‐
6/19/2019     Balthazor, Andrew W.   Online Research                   $206.43   Westlaw ‐ BALTHAZOR,ANDREW ‐ 06/19/2019 ‐
6/19/2019     Alvarez, Nicole S.     Online Research                    $40.50   Westlaw ‐ ALVAREZ,NICOLE ‐ 06/19/2019 ‐
6/23/2019     Balthazor, Andrew W.   Online Research                   $400.49   Westlaw ‐ BALTHAZOR,ANDREW ‐ 06/23/2019 ‐
9/3/2019      Melzer, Nicholas B.^   Online Research                     $0.80   Pacer‐‐melzer62 Nicholas Melzer (4670940)
9/10/2019     Balthazor, Andrew W.   Online Research                   $403.50   Westlaw ‐ BALTHAZOR,ANDREW ‐ 09/10/2019 ‐



                                                         Expense Detail: Page 1 of 2
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                                  Expense Detail for Second Interim Fee Period
                                                   #:1994

Date         Timekeeper Name        Category                        Amount          Detail
9/18/2019    Hayes, Delia M.        Online Research                         $0.80   Pacer‐‐falling4star Delia Hayes (4676137)
12/3/2019    Balthazor, Andrew W.   Online Research                       $204.59   Westlaw ‐ BALTHAZOR,ANDREW ‐ 12/03/2019 ‐
12/30/2019   Balthazor, Andrew W.   Online Research                       $149.67   Westlaw ‐ BALTHAZOR,ANDREW ‐ 12/30/2019 ‐
                                    Online Research Total               $4,588.90
7/10/2018    Casal, Jose A.         Overnight Delivery                     $34.11 Federal Express ‐ Invoice # 6‐242‐93097 ‐ Becky Miles ‐ 07/10/18
7/12/2018    Casal, Jose A.         Overnight Delivery                     $25.21 Federal Express ‐ Invoice # 6‐251‐12759 ‐ Becky Miles ‐ 07/12/18
                                                                                  UPS‐Tracking number:1Z4A065R1397976311‐Date:2018‐07‐16‐
                                                                                  Receiver Name:Andrew B. Holmes, Es‐Receiver Company
                                                                                  Name:Holmes, Taylor, Scott & Jones LLP‐Service Description:Next Day
7/16/2018    Casal, Jose A.         Overnight Delivery                     $15.73 Air Saver Commercial
                                                                                  UPS‐Tracking number:1Z97057X4298865860‐Date:2018‐07‐17‐Receiver
                                                                                  Name:‐Receiver Company Name:Becky Miles‐Service
7/17/2018    Casal, Jose A.         Overnight Delivery                     $20.54 Description:Ground Residential

7/19/2018    Casal, Jose A.         Overnight Delivery                     $19.77 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Martha Breed ‐ 07/19/18

7/19/2018    Casal, Jose A.         Overnight Delivery                     $19.77   Federal Express ‐ Invoice # 6‐258‐29819 ‐ Daniel Bereczki ‐ 07/19/18
7/19/2018    Casal, Jose A.         Overnight Delivery                     $19.77   Federal Express ‐ Invoice # 6‐258‐29819 ‐ David Guck ‐ 07/19/18
7/19/2018    Casal, Jose A.         Overnight Delivery                     $22.01   Federal Express ‐ Invoice # 6‐258‐29819 ‐ Ying Liu ‐ 07/19/18
7/19/2018    Casal, Jose A.         Overnight Delivery                     $22.01   Federal Express ‐ Invoice # 6‐258‐29819 ‐ Leyou Hong ‐ 07/19/18
7/19/2018    Casal, Jose A.         Overnight Delivery                     $17.56   Federal Express ‐ Invoice # 6‐258‐29819 ‐ Kazem Hadi ‐ 07/19/18
7/19/2018    Casal, Jose A.         Overnight Delivery                     $19.55   Federal Express ‐ Invoice # 6‐258‐29819 ‐ Bryan Levi ‐ 07/19/18

7/19/2018    Casal, Jose A.         Overnight Delivery                     $19.77 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Aaron Lefkowlitz ‐ 07/19/18

7/19/2018    Casal, Jose A.         Overnight Delivery                    $124.16 Federal Express ‐ Invoice # 1‐720‐93559 ‐ Tina Mitchell ‐ 07/19/18
7/20/2018    Casal, Jose A.         Overnight Delivery                     $22.01 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Nathan Ross ‐ 07/20/18

7/20/2018    Casal, Jose A.         Overnight Delivery                     $22.01 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Deepanshu Tyagi ‐ 07/20/18

7/20/2018    Casal, Jose A.         Overnight Delivery                     $22.01 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Dallin Christensen ‐ 07/20/18
7/20/2018    Casal, Jose A.         Overnight Delivery                     $22.01 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Jack Dawson ‐ 07/20/18

7/20/2018    Casal, Jose A.         Overnight Delivery                     $22.01 Federal Express ‐ Invoice # 6‐258‐29819 ‐ Staci Dawson ‐ 07/20/18
                                                                                  UPS‐Tracking number:1Z97057X4294353036‐Date:2018‐07‐26‐Receiver
                                                                                  Name:‐Receiver Company Name:Becky Miles‐Service
7/26/2018    Casal, Jose A.         Overnight Delivery                     $23.52 Description:Ground Residential
                                                                                  UPS‐Tracking number:1Z97057X4294083846‐Date:2018‐07‐26‐Receiver
                                                                                  Name:‐Receiver Company Name:Becky Miles‐Service
7/26/2018    Casal, Jose A.         Overnight Delivery                     $19.44 Description:Ground Residential
                                                                                  UPS‐Tracking number:1Z97057X4291200625‐Date:2018‐07‐26‐Receiver
                                                                                  Name:‐Receiver Company Name:Becky Miles‐Service
7/26/2018    Casal, Jose A.         Overnight Delivery                     $21.34 Description:Ground Residential
                                                                                  UPS‐Tracking number:1Z4A065R0198589037‐Date:2018‐07‐27‐
                                                                                  Receiver Name:‐Receiver Company Name:Dallin Christensen‐Service
7/27/2018    Casal, Jose A.         Overnight Delivery                     $14.37 Description:Next Day Air Residential

8/14/2018    Casal, Jose A.         Overnight Delivery                     $23.79   Federal Express ‐ Invoice # 6‐278‐52421 ‐ Spencer Howell ‐ 08/14/18
8/14/2018    Casal, Jose A.         Overnight Delivery                     $21.96   Federal Express ‐ Invoice # 6‐278‐52421 ‐ Alex Koch ‐ 08/14/18
8/14/2018    Casal, Jose A.         Overnight Delivery                     $21.96   Federal Express ‐ Invoice # 6‐278‐52421 ‐ Ying Liu ‐ 08/14/18
8/14/2018    Casal, Jose A.         Overnight Delivery                     $21.96   Federal Express ‐ Invoice # 6‐278‐52421 ‐ Leyou Hong ‐ 08/14/18

8/17/2018    Dewey, Josias          Overnight Delivery                     $21.74 Federal Express ‐ Invoice 6‐286‐38271‐ Deepanshu Tyagi ‐ 08/17/2018

8/28/2018    Casal, Jose A.         Overnight Delivery                     $26.45 Federal Express ‐ Invoice # 6‐293‐37768 ‐ Becky Miles ‐ 08/28/18

8/28/2018    Casal, Jose A.         Overnight Delivery                     $21.74 Federal Express ‐ Invoice # 6‐293‐37768 ‐ Yong Ha Jeong ‐ 08/28/18
                                                                                  First Legal Network,LLC ‐ Invoice # 10171149 ‐ Holmes, Taylor, Scott &
9/13/2018    Casal, Jose A.         Overnight Delivery                     $15.81 Jones LLP ‐ 09/13/18
                                    Overnight Delivery Total              $744.09

9/13/2019                           Accounting Services              $ 10,170.00 Grobstein Teeple LLP ‐ Invoice No. 36481 dated Sep 13, 2019
                                    Accounting Services Total        $ 10,170.00

                                    Grand Total                      $ 16,734.49




                                                            Expense Detail: Page 2 of 2
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                                    #:1995



                                     EXHIBIT E-1

                     DETAIL ON ACCOUNTING SERVICES
                    PROVIDED BY GROBSTEIN TEEPLE LLP

            SUMMARY OF ACCOUNTING FEES BY PROFESSIONAL


      Name               Title      Office Location    Hourly     Total         Total
                                                       Billing    Hours         Fees
                                                        Rate
Eddie Shamas          Partner       Woodland Hills      $300      19.9          $5,970.00
Eddie Shamas          Partner       Woodland Hills      $275       0.4            $110.00
Lucia Mier            Consultant    Woodland Hills      $195       9.6          $1,872.00
Lindsay Lopez         Consultant    Woodland Hills      $125       8.3          $1,037.50
Lindsay Lopez         Consultant    Woodland Hills      $115       1.3            $149.50
Lucy Demirdzhyan      Consultant    Woodland Hills      $140       1.0            $140.00
Andrew Segura         Consultant    Woodland Hills      $135       6.6            $891.00

     TOTAL:                                                       47.10      $10,170.00

                                             Overall Total:          $10,170.00
                                             Professional Fees:      $10,170.00
                                             Total Hours:            47.10
                                             Blended Rate:           $215.92


            SUMMARY OF ACCOUNTING FEES BY TASK CATEGORY

     Task     Description                       Total Hours        Total Fees
     Code
     1        Accounting services                     47.1         $10,170.00

              TOTAL:                                  47.1         $10,170.00
          Case 2:18-cv-04315-DSF-JPR Document 103 Filed 08/02/21 Page 90 of 92 Page ID
                                           #:1996
Grobstein Teeple LLP
23832 Rockfield Blvd.
Suite 245
Lake Forest, CA 92630                                                                                         GROBSTEIN
949-298-6620                                                                                                  TEEPLE I LLP
info@gtllp.com




Josias Dewey, Receiver                                                                                              Invoice
701 Brickell Avenue, Suite 3300
Miami, FL 33131                                                                                                     Invoice Date:    Sep 13, 2019
                                                                                                                    Invoice Num:     36481
                                                                                                                    Billing Through: Sep 13, 2019



IN RE: SEC v. Titanium




Professional Services:

Date           Employee           Description                                                                                Rate    Hours          Amount
001 - Accounting Services
12/12/2018     EXS                Discussion with HBG on POA's and requirements.                                           275.00      0.40         $ 110.00
12/17/2018     LNL                Preparation of Power of Attorney forms for federal, and the states of                    115.00      1.30         $ 149.50
                                  California, Oregon, and Texas.
                                  Preparation of Form 56.
01/07/2019     LNL                Preparation of Power of Attorney's for federal, CA, OR, TX, and Form 56                  125.00      1.00         $ 125.00
                                  with additonal information for Receiver.
01/22/2019     LNL                CA FTB File Power of Attorney, submitted signed POA and appointment of                   125.00      1.20         $ 150.00
                                  receiver.
01/23/2019     LNL                Contacted Texas Comptroller Office and submitted POA.                                    125.00      0.40          $ 50.00
01/28/2019     LNL                Correspondence with TX comptroller office regarding POA and missing                      125.00      0.50          $ 62.50
                                  EIN.
01/29/2019     LNL                Contacting TX for tax transcripts.                                                       125.00      0.20          $ 25.00
01/29/2019     LNL                Submitted POA to IRS and contacted FTB regarding rejection of POA.                       125.00      1.10         $ 137.50
01/31/2019     LNL                Review with ES on status of POAs for tax transcripts                                     125.00      0.20          $ 25.00
01/31/2019     EXS                Call with IRS to obtain copies of payroll tax transcripts. Multiple attempts to          300.00      1.80         $ 540.00
                                  reach IRS.
02/05/2019     LNL                Preparation and submission of Form OR-PRR for public records. Updated                    125.00      0.80         $ 100.00
                                  POA
03/15/2019     LXM                Reviewed claim reports to prepare payroll tax and w2 forms.                              195.00      0.60         $ 117.00
03/15/2019     EXS                Review of payroll schedules and discuss preparation of W2's with LM                      300.00      0.70         $ 210.00
03/21/2019     LNL                Correspondence regarding transcripts both federal and all states.                        125.00      1.10         $ 137.50
03/21/2019     EXS                Review of schedules provided by client. Review of states with filing                     300.00      1.60         $ 480.00
                                  requirements.
03/22/2019     LNL                Correspondence with EDD officials and review with LM.                                    125.00      0.70          $ 87.50


                                                       OUR REMITTANCE ADDRESS HAS CHANGED

                                                                 Please mail payments to:
                                                                  Grobstein Teeple, LLP
                                                              23832 Rockfield Blvd., Suite 245
                                                                  Lake Forest, CA 92630
          Case 2:18-cv-04315-DSF-JPR Document 103 Filed 08/02/21 Page 91 of 92 Page ID
                                           #:1997
Grobstein Teeple LLP
23832 Rockfield Blvd.
Suite 245
Lake Forest, CA 92630                                                                                   GROBSTEIN
949-298-6620                                                                                            TEEPLE I LLP
info@gtllp.com




Josias Dewey, Receiver                                                                                      Invoice
701 Brickell Avenue, Suite 3300
Miami, FL 33131                                                                                             Invoice Date:    Sep 13, 2019
                                                                                                            Invoice Num:     36481
                                                                                                            Billing Through: Sep 13, 2019



IN RE: SEC v. Titanium




03/23/2019     LXM                Reviewing payroll reports provided by clients to process W2s                     195.00      0.70         $ 136.50
03/25/2019     LXM                Going over W2 processing with Andrew                                             195.00      0.70         $ 136.50
03/25/2019     AMS                W-2 inputs for client's employees.                                               135.00      2.50         $ 337.50
03/25/2019     AMS                W-2 inputs for client's employees.                                               135.00      2.80         $ 378.00
03/26/2019     LNL                Correspondence with Oregon regarding payroll tax transcripts (.5).               125.00      0.80         $ 100.00
                                  Reviewed with LM and corresponded with CA for payroll tax transcripts
                                  (.3).
03/27/2019     LNL                Correspondence regarding payroll tax.                                            125.00      0.30          $ 37.50
03/27/2019     LXM                Contacting OR and CA to retrieve account numbers.( 60) Reviewing OR              195.00      0.90         $ 175.50
                                  payroll filing status (.30)
03/27/2019     EXS                Updated client on status of W2's and summarized the status of state              300.00      1.20         $ 360.00
                                  filings.
03/29/2019     LXM                Revising state wages                                                             195.00      1.30         $ 253.50
03/29/2019     LD                 Verification and tie out of employee W2 information.                             140.00      1.00         $ 140.00
04/01/2019     LXM                Revising W2s                                                                     195.00      0.60         $ 117.00
04/01/2019     EXS                Review of W2 info and assisted in properly accounting for and preparing          300.00      2.50         $ 750.00
                                  W2's.
04/02/2019     LXM                Calculating payroll tax liability for 2018                                       195.00      0.40          $ 78.00
04/03/2019     LXM                Revised W2s addresses.                                                           195.00      0.20          $ 39.00
04/03/2019     EXS                Review of payroll items.                                                         300.00      0.80         $ 240.00
04/04/2019     EXS                Review of update W2's.                                                           300.00      0.50         $ 150.00
04/09/2019     EXS                Calls with Shawn, research priority payment, and prepared email of               300.00      1.90         $ 570.00
                                  findings.
04/18/2019     EXS                Review of post-petition payroll.                                                 300.00      2.20         $ 660.00
04/19/2019     LXM                With ES regarding payroll tax for KY.                                            195.00      0.40          $ 78.00
04/19/2019     AMS                Receivership payroll data entries.                                               135.00      1.30         $ 175.50
04/22/2019     LXM                Telephone with KY unemployment officer                                           195.00      0.40          $ 78.00



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                                                                  Please mail payments to:
                                                                   Grobstein Teeple, LLP
                                                               23832 Rockfield Blvd., Suite 245
                                                                   Lake Forest, CA 92630
          Case 2:18-cv-04315-DSF-JPR Document 103 Filed 08/02/21 Page 92 of 92 Page ID
                                           #:1998
Grobstein Teeple LLP
23832 Rockfield Blvd.
Suite 245
Lake Forest, CA 92630                                                                                       GROBSTEIN
949-298-6620                                                                                                TEEPLE I LLP
info@gtllp.com




Josias Dewey, Receiver                                                                                        Invoice
701 Brickell Avenue, Suite 3300
Miami, FL 33131                                                                                               Invoice Date:    Sep 13, 2019
                                                                                                              Invoice Num:     36481
                                                                                                              Billing Through: Sep 13, 2019



IN RE: SEC v. Titanium




04/24/2019     EXS                Discuss with LM regarding KY payroll tax filings.                                  300.00      0.50         $ 150.00
04/25/2019     LXM                Prepared quarterlies for KY                                                        195.00      1.00         $ 195.00
04/26/2019     LXM                Communications regarding payroll filings                                           195.00      0.40          $ 78.00
04/30/2019     EXS                Emails with Shawn regarding update on KY issue.                                    300.00      0.30          $ 90.00
05/02/2019     EXS                Review of pre and post petition payments for each state and IRS.                   300.00      1.20         $ 360.00
05/09/2019     LXM                Corrected payroll tax schedules for pre and post receivership                      195.00      0.70         $ 136.50
05/09/2019     EXS                Review of reconciliations for pre and post payroll.                                300.00      1.40         $ 420.00
05/10/2019     EXS                Discussions with Lucia on missing information and how to address these             300.00      0.60         $ 180.00
                                  items.
05/22/2019     EXS                Review of tax liability for pre and post period. Tie out all schedules,            300.00      2.70         $ 810.00
                                  payments, wires, and state tax calculations.
05/22/2019     LXM                Recalculating prepetition payroll tax                                              195.00      1.30         $ 253.50
                                                                                           001 - Accounting Services Total:     47.10    $10,170.00


                                                                                      Total Professional Services Amount:       47.10    $10,170.00




                                                                                                                          Total Fees:   $ 10,170.00


                                                                                                            Amount Due This Invoice:    $ 10,170.00




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                                                                 Please mail payments to:
                                                                  Grobstein Teeple, LLP
                                                              23832 Rockfield Blvd., Suite 245
                                                                  Lake Forest, CA 92630
